Filed 07/22/19                                                                                                                                          Case 19-24600                                                                                   Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios                                                                                               Check if this is:
                                                                                                                                                                                                                            An amended filing
                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                                                 Chapter you are filing under:
                                                                                                                                                                                                                            Chapter 7
                                                                                    United States Bankruptcy Court for the Eastern District of California                                                                   Chapter 11
                                                                                                                                                                                                                            Chapter 12
                                                                                    Case number                                                                                                                             Chapter 13
                                                                                    (If known)



                                                                               Official Form 101
                                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17


                                                                               The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together--called a
                                                                               joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a
                                                                               car," the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1
                                                                               and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2.
                                                                               The same person must be Debtor 1 in all of the forms.

                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Identify Yourself

                                                                                                                         About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

                                                                               1.    Your full name                      Edwin                                                             Josephine
                                                                                                                         First name                                                        First name
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                                                                                     Write the name that is on your      Cabrera                                                           Sibucao
                                                                                     government-issued picture           Middle name                                                       Middle name
                                                                                     identification (for example,        De Dios                                                           De Dios
                                                                                     your driver’s license or
                                                                                                                         Last name                                                         Last name
                                                                                     passport).

                                                                                     Bring your picture                  Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)
                                                                                     identification to your meeting
                                                                                     with the trustee.



                                                                               2.    All other names you have N/A                                                                          Josephine
                                                                                     used in the last 8 years. First name                                                                  First name
                                                                                                                                                                                           Comia
                                                                                     Include your married or             Middle name                                                       Middle name
                                                                                     maiden names.                                                                                         Sibucao
                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)

                                                                                                                         N/A                                                               N/A
                                                                                                                         First name                                                        First name

                                                                                                                         Middle name                                                       Middle name

                                                                                                                         Last name                                                         Last name

                                                                                                                         Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)




                                                                               Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                   Page 1
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                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                           Case number:




                                                                               3.   Only the last 4 digits of     XXX-XX-4341                                                    XXX-XX-7570
                                                                                    your Social Security
                                                                                    number or federal
                                                                                    Individual Taxpayer
                                                                                    Identification number
                                                                                    (ITIN)



                                                                               4.   Any business names and        I have not used any business names or EINs                           I have not used any business names or EINs
                                                                                    Employer Identification
                                                                                    Numbers (EIN) you have N/A                                                                   N/A
                                                                                    used in the last 8 years. Business name                                                      Business name
                                                                                                              N/A                                                                N/A
                                                                                    Include trade names and       Business name                                                  Business name
                                                                                    doing business as names.

                                                                                                                  N/A                                                            N/A
                                                                                                                  EIN                                                            EIN

                                                                                                                  N/A                                                            N/A
                                                                                                                  EIN                                                            EIN




                                                                               5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                                                                                                  2955 Redwood Parkway                                           Same
                                                                                                                  Number    Street                                               Number    Street
                                                                                                                                                                                 Same

                                                                                                                  Vallejo CA 94591                                               Same Same
                                                                                                                  City, State, Zip Code                                          City, State, Zip Code
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                                                                                                                  Solano                                                         Solano
                                                                                                                  County                                                         County

                                                                                                                  If your mailing address is different from the one              If your mailing address is different from the one
                                                                                                                  above, fill it in here. Note that the court will send          above, fill it in here. Note that the court will send
                                                                                                                  any notices to you at this mailing address.                    any notices to you at this mailing address.

                                                                                                                  N/A                                                            N/A
                                                                                                                  Number    Street                                               Number    Street




                                                                                                                  City, State, Zip Code                                          City, State, Zip Code




                                                                               6.   Why you are choosing          Check one:                                                     Check one:
                                                                                    this district to file for
                                                                                    bankruptcy                          Over the last 180 days before filing this                      Over the last 180 days before filing this
                                                                                                                        petition, I have lived in this district longer                 petition, I have lived in this district longer
                                                                                                                        than in any other district.                                    than in any other district.

                                                                                                                        I have another reason. Explain. (See 28                        I have another reason. Explain. (See 28
                                                                                                                        U.S.C. § 1408.)                                                U.S.C. § 1408.)

                                                                                                                        N/A                                                            N/A




                                                                               Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                           Page 2
Filed 07/22/19                                                                                                                                     Case 19-24600                                                                      Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                        Case number:




                                                                                Part 2:        Tell the Court About Your Bankruptcy Case

                                                                               7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
                                                                                    Bankruptcy Code you are Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
                                                                                    choosing to file under
                                                                                                                Chapter 7

                                                                                                                        Chapter 11

                                                                                                                        Chapter 12

                                                                                                                        Chapter 13



                                                                               8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                                                                                        local court for more details about how you may pay. Typically, if you are paying the fee
                                                                                                                        yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                                                                                        submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                                                                                                        a pre-printed address.

                                                                                                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application
                                                                                                                        for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                                                                                                        I request that my fee be waived (You may request this option only if you are filing for Chapter
                                                                                                                        7. By law, a judge may, but is not required to, waive your fee, and may do so only if your income
                                                                                                                        is less than 150% of the official poverty line that applies to your family size and you are unable
                                                                                                                        to pay the fee in installments). If you choose this option, you must fill out the Application to
                                                                                                                        Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



                                                                               9.   Have you filed for                  No
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                                                                                    bankruptcy within the
                                                                                    last 8 years?                       Yes       District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                  District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY

                                                                                                                                  District   N/A                        When                       Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               10. Are any bankruptcy                   No
                                                                                   cases pending or being
                                                                                   filed by a spouse who is             Yes       Debtor     N/A                                                   Relationship
                                                                                   not filing this case with
                                                                                   you, or by a business                          District                              When                       Case number
                                                                                   partner, or by an                                                                             MM/DD/YYYY
                                                                                   affiliate?

                                                                                                                                  Debtor     N/A                                                   Relationship

                                                                                                                                  District                              When                       Case number
                                                                                                                                                                                 MM/DD/YYYY




                                                                               11. Do you rent your                     No. Go to line 12.
                                                                                   residence?                           Yes. Has your landlord obtained an eviction judgment against you?

                                                                                                                                  No. Go to line 12.
                                                                                                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                                                                                  part of this bankruptcy petition.




                                                                               Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                        Page 3
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                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                             Case number:




                                                                                Part 3:         Report About Any Businesses You Own as a Sole Proprietor



                                                                               12. Are you a sole proprietor              No.    Go to Part 4.
                                                                                   of any full- or part-time
                                                                                   business?

                                                                                    A sole proprietorship is a
                                                                                    business you operate as an
                                                                                    individual, and is not a
                                                                                    separate legal entity such as
                                                                                    a corporation, partnership, or
                                                                                    LLC.


                                                                                Part 4:         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                                                               14. Do you own or have any                 No.
                                                                                   property that poses or
                                                                                   is alleged to pose a                   Yes.
                                                                                   threat of imminent and
                                                                                   identifiable hazard to
                                                                                   public health or
                                                                                   safety? Or do you own
                                                                                   any property that needs
                                                                                   immediate attention?

                                                                                    For example, do you own
                                                                                    perishable goods, or
                                                                                    livestock that must be fed,
                                                                                    or a building that needs
                                                                                    urgent repairs?
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                                                                                Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                                      About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                                               15. Tell the court whether             You must check one:                                          You must check one:
                                                                                   you have received
                                                                                   briefing about credit                  I received a briefing from an approved                        I received a briefing from an approved
                                                                                                                          credit counseling agency within the 180                       credit counseling agency within the 180
                                                                                   counseling.                            days before I filed this bankruptcy                           days before I filed this bankruptcy petition,
                                                                                                                          petition, and I received a certificate of                     and I received a certificate of completion.
                                                                                    The law requires that you
                                                                                                                          completion.
                                                                                    receive a briefing about credit
                                                                                                                                                                                        Attach a copy of the certificate and the
                                                                                    counseling before you file for
                                                                                                                          Attach a copy of the certificate and the                      payment plan, if any, that you developed with
                                                                                    bankruptcy. You must
                                                                                                                          payment plan, if any, that you developed with                 the agency.
                                                                                    truthfully check one of the
                                                                                                                          the agency.
                                                                                    following choices. If you
                                                                                                                                                                                        I received a briefing from an approved
                                                                                    cannot do so, you are not
                                                                                                                          I received a briefing from an approved                        credit counseling agency within the 180
                                                                                    eligible to file.
                                                                                                                          credit counseling agency within the 180                       days before I filed this bankruptcy petition,
                                                                                                                          days before I filed this bankruptcy petition,                 but I do not have a certificate of completion.
                                                                                    If you file anyway, the court
                                                                                                                          but I do not have a certificate of
                                                                                    can dismiss your case, you will
                                                                                                                          completion.                                                   Within 14 days after you file this bankruptcy
                                                                                    lose whatever filing fee you
                                                                                                                                                                                        petition, you MUST file a copy of the
                                                                                    paid, and your creditors can
                                                                                                                          Within 14 days after you file this bankruptcy                 certificate and payment plan, if any.
                                                                                    begin collection activities
                                                                                                                          petition, you MUST file a copy of the
                                                                                    again.
                                                                                                                          certificate and payment plan, if any.




                                                                               Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                           Page 4
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                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                         Case number:



                                                                                                                  About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
                                                                                                                      I certify that I asked for credit                            I certify that I asked for credit
                                                                                                                      counseling services from an approved                         counseling services from an approved
                                                                                                                      agency, but was unable to obtain those                       agency, but was unable to obtain those
                                                                                                                      services during the 7 days after I made my                   services during the 7 days after I made my
                                                                                                                      request, and exigent circumstances merit                     request, and exigent circumstances merit a
                                                                                                                      a 30-day temporary waiver of the                             30-day temporary waiver of the
                                                                                                                      requirement.                                                 requirement.

                                                                                                                      To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                                                                                                      requirement, attach a separate sheet                         requirement, attach a separate sheet
                                                                                                                      explaining what efforts you made to obtain the               explaining what efforts you made to obtain the
                                                                                                                      briefing, why you were unable to obtain it                   briefing, why you were unable to obtain it
                                                                                                                      before you filed for bankruptcy, and what                    before you filed for bankruptcy, and what
                                                                                                                      exigent circumstances required you to file this              exigent circumstances required you to file this
                                                                                                                      case.                                                        case.

                                                                                                                      Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                                                                                                      dissatisfied with your reasons for not                       dissatisfied with your reasons for not receiving
                                                                                                                      receiving a briefing before you filed for                    a briefing before you filed for bankruptcy. If
                                                                                                                      bankruptcy. If the court is satisfied with your              the court is satisfied with your reasons, you
                                                                                                                      reasons, you must still receive a briefing                   must still receive a briefing within 30 days
                                                                                                                      within 30 days after you file. You must file a               after you file. You must file a certificate
                                                                                                                      certificate from the approved agency, along                  from the approved agency, along with a copy
                                                                                                                      with a copy of the payment plan you                          of the payment plan you developed, if any. If
                                                                                                                      developed, if any. If you do not do so, your                 you do not do so, your case may be dismissed.
                                                                                                                      case may be dismissed.
                                                                                                                                                                                   Any extension of the 30-day deadline is
                                                                                                                      Any extension of the 30-day deadline is                      granted only for cause and is limited to a
                                                                                                                      granted only for cause and is limited to a                   maximum of 15 days.
                                                                                                                      maximum of 15 days.

                                                                                                                      I am not required to receive a briefing                      I am not required to receive a briefing
                                                                                                                      about credit counseling because of:                          about credit counseling because of:

                                                                                                                           Incapacity.     I have a mental illness                      Incapacity.     I have a mental illness or
                                                                                                                                           or a mental deficiency                                       a mental deficiency that
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                                                                                                                                           that makes me incapable                                      makes me incapable of
                                                                                                                                           of realizing or making                                       realizing or making
                                                                                                                                           rational decisions about                                     rational decisions about
                                                                                                                                           finances.                                                    finances.

                                                                                                                           Disability.     My physical disability                       Disability.     My physical disability
                                                                                                                                           causes me to be unable to                                    causes me to be unable to
                                                                                                                                           participate in a briefing                                    participate in a briefing
                                                                                                                                           in person, by phone, or                                      in person, by phone, or
                                                                                                                                           through the internet, even                                   through the internet, even
                                                                                                                                           after I reasonably tried to                                  after I reasonably tried to
                                                                                                                                           do so.                                                       do so.

                                                                                                                           Active duty.    I am currently on active                     Active duty.    I am currently on active
                                                                                                                                           military duty in a                                           military duty in a military
                                                                                                                                           military combat zone.                                        combat zone.

                                                                                                                      If you believe you are not required to receive a             If you believe you are not required to receive a
                                                                                                                      briefing about credit counseling, you must file              briefing about credit counseling, you must file
                                                                                                                      a motion for waiver of credit counseling with                a motion for waiver of credit counseling with
                                                                                                                      the court.                                                   the court.




                                                                               Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                             Page 5
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                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                          Case number:




                                                                                Part 6:        Answer These Questions for Reporting Purposes

                                                                               16. What kind of debts do          16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                   you have?                              "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                                                                No. Go to line 16b.
                                                                                                                                Yes. Go to line 17.

                                                                                                                  16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                                                                                          money for a business or investment or through the operation of the business or investment.

                                                                                                                                No. Go to line 16c.
                                                                                                                                Yes. Go to line 17.

                                                                                                                  16c.    State the type of debts you owe that are not consumer debts or business debts: N/A



                                                                               17. Are you filing under                  No. I am not filing under Chapter 7. Go to line 18.
                                                                                   Chapter 7?
                                                                                                                         Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                                                                                                              administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                                                                    Do you estimate that
                                                                                    after any exempt                               No.
                                                                                    property is excluded and
                                                                                    administrative expenses                        Yes.
                                                                                    are paid that funds will
                                                                                    be available for
                                                                                    distribution to
                                                                                    unsecured creditors?



                                                                               18. How many creditors do                 1-49                                   1,000 - 5,000                         25,001 - 50,000
                                                                                   you estimate that you                 50-99                                  5,001 - 10,000                        50,001 - 100,000
                                                                                                                         100-199                                10,001 - 25,000                       More than 100,000
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                                                                                   owe?
                                                                                                                         200-999



                                                                               19. How much do you                       $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your assets to               $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   be worth?                             $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                         $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion



                                                                               20. How much do you                       $0 to $50,000                          $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                   estimate your liabilities             $50,001 to $100,000                    $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                   to be?                                $100,001 to $500,000                   $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                         $500,001 to $1 million                 $100,000,001 to $500 million          More than $50 billion




                                                                               Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             Page 6
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                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                               Case number:




                                                                                Part 7:        Sign Below

                                                                               For you                               I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                                                                                                     correct.

                                                                                                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or
                                                                                                                     13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                                                                                     under Chapter 7.

                                                                                                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                                                                                     this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                                                                                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                                                                                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                                                                                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
                                                                                                                     both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                                                     /s/ Edwin Cabrera De Dios                                                                 07/22/2019
                                                                                                                     Debtor 1                                                                                  MM/DD/YYYY

                                                                                                                     /s/ Josephine Sibucao De Dios                                                             07/22/2019
                                                                                                                     Debtor 2                                                                                  MM/DD/YYYY



                                                                               For your attorney, if you             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
                                                                               are represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                                               Note that BkAssist is licensed for    the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
                                                                               use only by attorneys. If you are     knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
                                                                               not represented by an attorney, you
                                                                               may not file this petition.
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                                                                                                                     /s/ Bert M. Vega, Esq.                                                                    07/22/2019
                                                                                                                     Attorney for Debtor(s)                                                                    MM/DD/YYYY



                                                                                                                     Bert M. Vega, Esq.
                                                                                                                     Printed name
                                                                                                                     Law Office of Bert M. Vega, LLC.
                                                                                                                     Firm name
                                                                                                                     506 Sacramento Street
                                                                                                                     Number Street



                                                                                                                     Vallejo CA 94590
                                                                                                                     City, State, ZIP Code

                                                                                                                     (707) 558-9375                                              bertvegalawcanb@sbcglobal.net
                                                                                                                     Contact phone                                               Email address
                                                                                                                     173141
                                                                                                                     Bar number




                                                                               Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                          Page 7
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                                                          Certificate Number: 15317-CAE-CC-033130019


                                                                         15317-CAE-CC-033130019




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on July 18, 2019, at 10:06 o'clock PM PDT, Edwin C. De Dios
           received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.
            111 to provide credit counseling in the Eastern District of California, an
           individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   July 18, 2019                          By:      /s/Mariel Macrohon


                                                          Name: Mariel Macrohon


                                                          Title:   Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 07/22/19                                    Case 19-24600                                              Doc 1




                                                          Certificate Number: 15317-CAE-CC-033130011


                                                                         15317-CAE-CC-033130011




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on July 18, 2019, at 10:11 o'clock PM PDT, Josephine S. De
           Dios received from Access Counseling, Inc., an agency approved pursuant to 11
           U.S.C. 111 to provide credit counseling in the Eastern District of California, an
           individual [or group] briefing that complied with the provisions of 11 U.S.C.
           109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   July 18, 2019                          By:      /s/Mariel Macrohon


                                                          Name: Mariel Macrohon


                                                          Title:   Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 07/22/19                                                                                                                                                       Case 19-24600                                                                                                Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios

                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                                                                           Check if this is an amended
                                                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the Eastern District of California

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106Sum
                                                                               Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                              12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
                                                                               your original forms, you must fill out a new Summary and check the box at the top of this page.


                                                                                Part 1:              Summarize Your Assets

                                                                                                                                                                                                                                                               Your assets
                                                                                                                                                                                                                                                               Value of what
                                                                                                                                                                                                                                                               you own

                                                                               1.    Schedule A/B: Property (Official Form 106A/B)
                                                                                     1a. Copy line 55, Total real estate, from Schedule A/B .........................................................................................                               $495,700.00

                                                                                     1b. Copy line 62, Total personal property, from Schedule A/B ..............................................................................                                    $102,708.31

                                                                                     1c. Copy line 63, Total of all property on Schedule A/B.........................................................................................                               $598,408.31
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                                                                                Part 2:              Summarize Your Liabilities

                                                                                                                                                                                                                                                               Your liabilities
                                                                                                                                                                                                                                                               Amount you owe

                                                                               2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of
                                                                                     Schedule D.............................................................................................................................................................        $322,585.94

                                                                               3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................                                                           $0.00

                                                                                     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.......................                                                        $97,812.79

                                                                                                                                                                                                                            Your total liabilities                  $420,398.73


                                                                                Part 3:              Summarize Your Income and Expenses

                                                                               4.    Schedule I: Your Income (Official Form 106I)
                                                                                     Copy your combined monthly income from line 12 of Schedule I ..........................................................................                                          $6,178.08

                                                                               5.    Schedule J: Your Expenses (Official Form 106J)
                                                                                     Copy your monthly expenses from line 22, Column A, of Schedule J. ..................................................................                                             $7,181.83




                                                                               Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                             Page 1
Filed 07/22/19                                                                                                                                                    Case 19-24600                                                                                              Doc 1
                                                                               Debtor 1     Edwin Cabrera De Dios                                                                                                                                               Case number:




                                                                                Part 4:            Answer These Questions for Administrative and Statistical Records

                                                                               6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?
                                                                                        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other
                                                                                        schedules.
                                                                                        Yes

                                                                               7.   What kind of debt do you have?
                                                                                       Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                                                                                       family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9 for statistical purposes. 28 U.S.C. § 159.
                                                                                       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and
                                                                                       submit this form to the court with your other schedules.

                                                                               8.   From the Statement of Your Current Monthly Income (Official Form 122A-1, 122B, or 122C-1):
                                                                                    Copy your total current monthly income from line 11.............................................................................................                              $8,906.90

                                                                               9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:..................................

                                                                               From Part 4 on Schedule E/F, copy the following:                                                                                                                            Total claim

                                                                                    9a. Domestic support obligations (Copy line 6a.)...................................................................................................                                  $0.00

                                                                                    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)........................................................                                                    $0.00

                                                                                    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) ..............................................                                                   $0.00

                                                                                    9d. Student loans. (Copy line 6f.)...........................................................................................................................                        $0.00

                                                                                    9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims.
                                                                                        (Copy line 6g.).................................................................................................................................................                 $0.00

                                                                                    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)............................................                                                   $0.00

                                                                                    9g. Total. Add lines 9a through 9f..........................................................................................................................                         $0.00
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                                                                               Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                                              Page 2
Filed 07/22/19                                                                                                                                             Case 19-24600                                                                        Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1         Edwin Cabrera De Dios

                                                                                    Debtor 2         Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                                           Check if this is an amended
                                                                                                                                                                                                                  filing
                                                                                    United States Bankruptcy Court for the Eastern District of California

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106A/B
                                                                               Schedule A/B: Property                                                                                                                                 12/15


                                                                               In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
                                                                               the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
                                                                               equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
                                                                               additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Each Residence, Building, Land or Other Real Estate You Own or Have an Interest in

                                                                               1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

                                                                                            No. Go to Part 2.
                                                                                            Yes. Where is the property?
                                                                                     1.1 2955 Redwood Parkway                                    What is the property? Check all that apply    Do not deduct secured claims or exemptions.
                                                                                            Street address, if available, or other description      Single-family home                         Put the amount of any secured claims on
                                                                                                                                                    Duplex or multi-unit building              Schedule D: Creditors Who Have Claims
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                                                                                                                                                    Condominium or cooperative                 Secured by Property.
                                                                                                                                                    Manufactured or mobile home
                                                                                            Vallejo CA 94591                                        Land                                                                  Current value of
                                                                                                                                                                                                 Current value of
                                                                                            City, State, ZIP Code                                   Investment property                                                   the portion you
                                                                                                                                                                                               the entire property?
                                                                                                                                                    Timeshare                                                                  own?
                                                                                            Solano                                                  Other
                                                                                            County                                                   N/A                                                $495,700.00              $495,700.00
                                                                                                                                                 Who has an interest in the property? Check
                                                                                                                                                     one
                                                                                                                                                     Debtor 1 only                             Describe the nature of your ownership interest
                                                                                                                                                     Debtor 2 only                             (such as fee simple, tenancy by the entireties, or
                                                                                                                                                     Debtor 1 and Debtor 2 only                a life estate), if known.
                                                                                                                                                     At least one of the debtors and another
                                                                                                                                                                                               Fee Simple
                                                                                                                                                 Other information you wish to add about
                                                                                                                                                 this item, such as local property                  Check if this is community property
                                                                                                                                                 identification number:                             (see instructions)

                                                                               2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                                                                                                                $495,700.00
                                                                                     entries for pages you have attached for Part 1. Write that number here. ...........................................


                                                                                Part 2:              Describe Your Vehicles
                                                                               Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any
                                                                               vehicles you own that someone else drives. If you lease a vehicle, also report it onSchedule G: Executory Contracts and Unexpired
                                                                               Leases.


                                                                               3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

                                                                                            No.
                                                                                            Yes.




                                                                               Official Form 106A/B                                                        Schedule A/B: Property                                                         Page 1
Filed 07/22/19                                                                                                                                                       Case 19-24600                                                                                         Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                                                                              Case number:



                                                                                    3.1 Make:           Nissan                                        Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:        Murano Sport Utility                                 Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         2011                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                   Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Approximate mileage: 125,000                                                                                                                                 the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                            own?
                                                                                          Other information: ; Community Asset                               (see instructions)
                                                                                                                                                                                                                                          $2,966.00            $2,966.00


                                                                                    3.2 Make:           BMW                                           Who has an interest in the property? Check                          Do not deduct secured claims or exemptions.
                                                                                                                                                      one                                                                 Put the amount of any secured claims on
                                                                                          Model:        x1                                                   Debtor 1 only                                                Schedule D: Creditors Who Have Claims
                                                                                                                                                             Debtor 2 only                                                Secured by Property.
                                                                                          Year:         2016                                                 Debtor 1 and Debtor 2 only
                                                                                                                                                             At least one of the debtors and another                                                   Current value of
                                                                                                                                                                                                                             Current value of
                                                                                          Approximate mileage: 30000                                                                                                                                   the portion you
                                                                                                                                                                                                                           the entire property?
                                                                                                                                                             Check if this is community property                                                            own?
                                                                                          Other information: ; Fee Simple                                    (see instructions)
                                                                                                                                                                                                                                        $20,164.00            $20,164.00


                                                                               4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                                                                                    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

                                                                                          No.
                                                                                          Yes.

                                                                               5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                                                                                                                                             $23,130.00
                                                                                    entries for pages you have attached for Part 2. Write that number here ............................................


                                                                                Part 3:            Describe Your Personal and Household Items
                                                                               Do you own or have any legal or equitable interest in any of the following items? (List the current value of the portion you own. Do not
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                                                                               deduct secured claims or exemptions)



                                                                               6.   Household goods and furnishings
                                                                                    Examples: Major appliances, furniture, linens, china, kitchenware

                                                                                          No
                                                                                          Yes (Furniture, Appliances & Laptop $3,500.00; Fee Simple, C)..................................................                                                       $3,500.00

                                                                               7.   Electronics
                                                                                    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                                                                                    collections; electronic devices including cell phones, cameras, media players, games

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               8.   Collectibles of value
                                                                                    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp,
                                                                                    coin, or baseball card collections; other collections, memorabilia, collectibles

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               9.   Equipment for sports and hobbies
                                                                                    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                                                                                    and kayaks; carpentry tools; musical instruments

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               10. Firearms
                                                                                    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

                                                                                          No
                                                                                          Yes ......................................................................................................................................................




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                          Page 2
Filed 07/22/19                                                                                                                                                       Case 19-24600                                                                                 Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                                                                       Case number:



                                                                               11. Clothes
                                                                                    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

                                                                                          No
                                                                                          Yes (Various clothing items, shoes, jackets purses $1,500.00; Fee Simple, C) .........................                                                         $1,500.00

                                                                               12. Jewelry
                                                                                    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                                                                                    gold, silver

                                                                                          No
                                                                                          Yes (Rings, Earings and Watches $2,000.00; Fee Simple, C) .......................................................                                              $2,000.00

                                                                               13. Non-farm animals
                                                                                    Examples: Dogs, cats, birds, horses

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               14. Any other personal and household items you did not already list, including any health aids you
                                                                                   did not list

                                                                                          No
                                                                                          Yes ......................................................................................................................................................

                                                                               15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                                                                                                                       $7,000.00
                                                                                   attached for Part 3. Write that number here ...........................................................................................


                                                                                Part 4:            Describe Your Financial Assets
                                                                               Do you own or have any legal or equitable interest in any of the following? (List the current value of the portion you own. Do not deduct
                                                                               secured claims or exemptions)



                                                                               16. Cash
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                                                                                    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                                                                                    petition

                                                                                          No
                                                                                          Yes Cash on Hand $40.00; Fee Simple (C) ......................................................................................                                    $40.00

                                                                               17. Deposits of money
                                                                                    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage
                                                                                    houses, and other similar institutions. If you have multiple accounts with the same institution, list each.

                                                                                          No
                                                                                          Yes First Bank Checking Account $150.00; Fee Simple (C) ..........................................................                                               $150.00

                                                                               18. Bonds, mutual funds, or publicly traded stocks
                                                                                    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               19. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
                                                                                   including an interest in an LLC, partnership, and joint venture

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               20. Government and corporate bonds and other negotiable and non-negotiable instruments
                                                                                    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
                                                                                    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               21. Retirement or pension accounts
                                                                                    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing
                                                                                    plans




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                  Page 3
Filed 07/22/19                                                                                                                                                       Case 19-24600                                                                                Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                                                                       Case number:



                                                                                          No
                                                                                          Yes Vanguard Retirement Plan $72,388.31; Fee Simple (D1) ........................................................                                             $72,388.31

                                                                               22. Security deposits and prepayments
                                                                                   Your share of all unused deposits you have made so that you may continue service or use from a company.
                                                                                   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                                                                                   companies, or others

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               24. Interests in an education IRA as defined in 26 U.S.C. § 530(b)(1) or under a qualified state tuition
                                                                                   plan as defined in 26 U.S.C. § 529(b)(1).

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights
                                                                                   or powers exercisable for your benefit

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
                                                                                   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               27. Licenses, franchises, and other general intangibles
                                                                                   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
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                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               28. Tax refunds owed to you
                                                                                   Give specific information about them, including whether you already filed the returns and the tax years

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               29. Family support
                                                                                   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                                                                                   settlement

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               30. Other amounts someone owes you
                                                                                   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                   compensation, Social Security benefits; unpaid loans you made to someone else

                                                                                          No
                                                                                          Yes ......................................................................................................................................................         $0.00

                                                                               31. Interests in insurance policies
                                                                                   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s
                                                                                   insurance. Name the insurance company of each policy and the beneficiary, and list its value

                                                                                          No
                                                                                          Yes All State TrueFit Term Life Insurance $0.00; Fee Simple (C).................................................

                                                                               32. Any interest in property that is due you from someone who has died
                                                                                   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to
                                                                                   receive property because someone has died.




                                                                               Official Form 106A/B                                                                  Schedule A/B: Property                                                                  Page 4
Filed 07/22/19                                                                                                                                                        Case 19-24600                                                                                  Doc 1
                                                                               Debtor 1     Edwin Cabrera De Dios                                                                                                                                       Case number:



                                                                                           No
                                                                                           Yes ......................................................................................................................................................         $0.00

                                                                               33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for
                                                                                   payment
                                                                                     Examples: Accidents, employment disputes, insurance claims, or rights to sue

                                                                                           No
                                                                                           Yes ......................................................................................................................................................         $0.00

                                                                               34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor
                                                                                   and rights to set off claims

                                                                                           No
                                                                                           Yes ......................................................................................................................................................         $0.00

                                                                               35. Any financial assets you did not already list

                                                                                           No
                                                                                           Yes ......................................................................................................................................................         $0.00

                                                                               36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                                                                                                                        $72,578.31
                                                                                   attached for Part 4. Write that number here ...........................................................................................


                                                                                Part 5:             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

                                                                               37. Do you own or have any legal or equitable interest in any business-related property?
                                                                                       No. Go to part 6.
                                                                                       Yes. Go to line 38.


                                                                                Part 6:             Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                                                                                                    If you own or have an interest in farmland, list it in Part 1.
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                                                                               46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related
                                                                                   property?
                                                                                       No. Go to part 7.
                                                                                       Yes. Go to line 47.


                                                                                Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

                                                                               53. Do you have other property of any kind you did not already list?
                                                                                     Examples: Season tickets, country club membership
                                                                                           No
                                                                                           Yes .....................................................................................................................................................          $0.00

                                                                               54. Add the dollar value of all of your entries from Part 7, including any entries for pages you have
                                                                                   attached for Part 7. Write that number here ...........................................................................................


                                                                                Part 8:             List the Totals of Each Part of this Form

                                                                               55. Part 1: Total real estate, line 2 .................................................................................................................                  $495,700.00

                                                                               56. Part 2: Total vehicles, line 5.............................................................................                                        $23,130.00

                                                                               57. Part 3: Total personal and household items, line 15 .....................................                                                            $7,000.00

                                                                               58. Part 4: Total financial assets, line 36 ..............................................................                                             $72,578.31

                                                                               59. Part 5: Total business-related property, line 45.............................................

                                                                               60. Part 6: Total farm- and fishing-related property, line 52 ...............................

                                                                               61. Part 7: Total other property not listed, line 54 ...............................................

                                                                               62. Total personal property. Add lines 56 through 61....................................................................................                                 $102,708.31



                                                                               Official Form 106A/B                                                                   Schedule A/B: Property                                                                  Page 5
Filed 07/22/19                                                                                                                                      Case 19-24600                                                                  Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                                      Case number:



                                                                               63. Total of all property on Schedule A/B. Add line 55 + line 62 ..................................................................   $598,408.31
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                                                                               Official Form 106A/B                                                 Schedule A/B: Property                                                  Page 6
Filed 07/22/19                                                                                                                                  Case 19-24600                                                                              Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios

                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                                   Check if this is an amended
                                                                                                                                                                                                          filing
                                                                                    United States Bankruptcy Court for the Eastern District of California

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106C
                                                                               Schedule C: The Property You Claim as Exempt                                                                                                   04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
                                                                               the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
                                                                               needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
                                                                               and case number (if known).

                                                                               For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
                                                                               specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                                               any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
                                                                               funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
                                                                               exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
                                                                               to the applicable statutory amount.


                                                                                Part 1:              Identify the Property You Claim as Exempt

                                                                               1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
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                                                                                            You are claiming California Exemptions § 704 (with no wildcard) (04/01/16) and federal nonbankruptcy exemptions. 11
                                                                                            U.S.C. § 522(b)(3)
                                                                                            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

                                                                               2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                                                                            Current value of the
                                                                                                                                                     Amount of the exemption you claim
                                                                                     Brief description of the property       portion you own
                                                                                    and line on Schedule A/B that lists                                                                         Specific laws that allow exemption
                                                                                                                                                            Check only one box for each
                                                                                               this property                Copy the value from
                                                                                                                                                                    exemption
                                                                                                                              Schedule A/B

                                                                                 Residential Property at 2955 Redwood               $495,700.00             $100,000.00                        CCP § 704.730(a)(2)
                                                                                 Parkway, Vallejo, CA 94591 (Line 1)                                        100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                 2011 Nissan Murano Sport Utility (Line                $2,966.00            $2,966.00                          CCP § 704.010
                                                                                 3)                                                                         100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                 Furniture, Appliances & Laptop (Line 6)               $3,500.00            $3,500.00                          CCP § 704.020
                                                                                                                                                            100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                 Various clothing items, shoes, jackets                $1,500.00            $1,500.00                          CCP § 704.020
                                                                                 purses (Line 11)                                                           100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                 Rings, Earings and Watches (Line 12)                  $2,000.00            $2,000.00                          CCP § 704.040
                                                                                                                                                            100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                 Vanguard Retirement Plan (Line 21)                   $72,388.31            $72,388.31                         11 U.S.C. § 522(b)(3)(C)
                                                                                                                                                            100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                                                   Total            $578,054.31                                 $182,354.31



                                                                               Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                   Page 1
Filed 07/22/19                                                                                                                                  Case 19-24600                                                           Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                              Case number:



                                                                               3.   Are you claiming a homestead exemption of more than $160,375.00?
                                                                                    (Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.)
                                                                                         No
                                                                                         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                                                                                              No
                                                                                              Yes
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                                                                               Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                    Page 2
Filed 07/22/19                                                                                                                                                       Case 19-24600                                                                                           Doc 1


                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1          Edwin Cabrera De Dios

                                                                                     Debtor 2          Josephine Sibucao De Dios
                                                                                     (Spouse, if filing)                                                                                                                                      Check if this is an amended
                                                                                                                                                                                                                                              filing
                                                                                     United States Bankruptcy Court for the Eastern District of California

                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106D
                                                                               Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.      Do any creditors have claims secured by your property?
                                                                                           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                                                                                           Yes. Fill in all of the information below.


                                                                                Part 1:                List All Secured Claims
                                                                               2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If more than one creditor has a
                                                                                       particular claim, list the other creditors in Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.

                                                                                                                                                                                                            Column A                    Column B             Column C
                                                                                                                                                                                                          Amount of claim          Value of collateral   Unsecured portion
                                                                                                                                                                                                         Do not deduct the value   that supports this          if any
                                                                                                                                                                                                             of the collateral
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                                                                                                                                                                                                                                         claim

                                                                               2.1                                                         Describe the property that secures the claim:                         $23,853.00               $20,164.00              $3,689.00
                                                                               BMW Financial Services                                           2016 BMW x1
                                                                               Creditor's Name
                                                                               P.O. Box 3608                                               As of the date you file, the claim is: Check all that apply
                                                                               Number Street                                                     Contingent
                                                                                                                                                 Unliquidated
                                                                                                                                                 Disputed
                                                                               Dublin OH 43016
                                                                               City, State, ZIP Code                                       Nature of lien. Check all that apply
                                                                               Who owes the debt? Check one.                                    An agreement you made (such as
                                                                                   Debtor 1 only                                                mortgage or secured car loan)
                                                                                   Debtor 2 only                                                Statutory lien (such as tax lien, mechanic’s
                                                                                   Debtor 1 and Debtor 2 only                                   lien)
                                                                                   At least one of the debtors and another                      Judgment lien from a lawsuit
                                                                                                                                                Other (including a right to offset)
                                                                                       Check if this claim relates to a community
                                                                                       debt                                                Last 4 digits of account number: -9627

                                                                               Date debt was incurred: 03/17/2019

                                                                               2.2                                                         Describe the property that secures the claim:                        $298,732.94             $495,700.00
                                                                               Wells Fargo Home Mortgage                                        Residential Property at 2955 Redwood
                                                                               Creditor's Name                                                  Parkway, Vallejo, CA 94591
                                                                               P.O. Box 14547
                                                                               Number Street                                               As of the date you file, the claim is: Check all that apply
                                                                                                                                                 Contingent
                                                                                                                                                 Unliquidated
                                                                               Des Moines IA 50306-4547                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who owes the debt? Check one.                               Nature of lien. Check all that apply
                                                                                   Debtor 1 only                                                An agreement you made (such as
                                                                                   Debtor 2 only                                                mortgage or secured car loan)
                                                                                   Debtor 1 and Debtor 2 only                                   Statutory lien (such as tax lien, mechanic’s
                                                                                   At least one of the debtors and another                      lien)
                                                                                                                                                Judgment lien from a lawsuit
                                                                                       Check if this claim relates to a community               Other (including a right to offset)
                                                                                       debt
                                                                                                                                           Last 4 digits of account number: -3095
                                                                               Date debt was incurred: 07/15/2002

                                                                               Add the dollar value of your entries in Column A. Write that number here: .............................................       $322,585.94



                                                                               Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                                                    Page 1
Filed 07/22/19                                                                                                                            Case 19-24600                                                                    Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                Case number:




                                                                                Part 2:        List Others to Be Notified for a Debt That You Already Listed
                                                                               Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a
                                                                               collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection
                                                                               agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here.
                                                                               If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.
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                                                                               Official Form 106D                       Schedule D: Creditors Who Have Claims Secured by Property                                     Page 2
Filed 07/22/19                                                                                                                                     Case 19-24600                                                                                  Doc 1


                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1           Edwin Cabrera De Dios

                                                                                     Debtor 2           Josephine Sibucao De Dios
                                                                                     (Spouse, if filing)                                                                                                            Check if this is an amended
                                                                                                                                                                                                                    filing
                                                                                     United States Bankruptcy Court for the Eastern District of California

                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106E/F
                                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15


                                                                               Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
                                                                               List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
                                                                               A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
                                                                               creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
                                                                               needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
                                                                               top of any additional pages, write your name and case number (if known).


                                                                                Part 1:                  List All of Your PRIORITY Unsecured Claims
                                                                               1.     Do any creditors have priority unsecured claims against you?
                                                                                          No. Go to Part 2.
                                                                                          Yes.


                                                                                Part 2:                  List All of Your NONPRIORITY Unsecured Claims
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                                                                               3.     Do any creditors have nonpriority unsecured claims against you?
                                                                                          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                                                                                          Yes.

                                                                               4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
                                                                                      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims
                                                                                      already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority
                                                                                      unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                                                                 Total claim

                                                                               4.1                                                                 Last 4 digits of account number: -****                                              $1,820.00
                                                                               Amex Department Stores
                                                                               Nonpriority Creditor's Name                                         When was the debt incurred: 04/09/2004
                                                                               P.O. Box 8218
                                                                               Number Street                                                       As of the date you file, the claim is: Check all that apply
                                                                                                                                                         Contingent
                                                                                                                                                         Unliquidated
                                                                               Mason OH 45040                                                            Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                      Student loans
                                                                                     Debtor 2 only                                                      Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                         you did not report as priority claims
                                                                                     At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                        Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 1
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                          Doc 1
                                                                               Debtor 1         Edwin Cabrera De Dios                                                                                                      Case number:


                                                                                                                                                                                                                          Total claim

                                                                               4.2                                                               Last 4 digits of account number: -7***                                        $3,730.00
                                                                               Amex Department Stores
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 03/16/2006
                                                                               P.O. Box 8218
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Mason OH 45040                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.3                                                               Last 4 digits of account number: -****                                        $2,731.22
                                                                               Amex Department Stores
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 09/24/2007
                                                                               P.O. Box 8218
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Mason OH 45040                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.4                                                               Last 4 digits of account number: -****                                        $1,395.64
                                                                               Best Buy/CBNA
                                                                                                                                                 When was the debt incurred: 04/27/2013
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                                                                               Nonpriority Creditor's Name
                                                                               P.O. Box 6497
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57117                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.5                                                               Last 4 digits of account number: -****                                        $7,557.00
                                                                               Capital One Bank
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 03/16/2002
                                                                               10700 Capital One Way
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Glen Allen VA 23060                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                          Doc 1
                                                                               Debtor 1         Edwin Cabrera De Dios                                                                                                      Case number:


                                                                                                                                                                                                                          Total claim

                                                                               4.6                                                               Last 4 digits of account number: -****                                        $2,393.87
                                                                               Chase/Bank One Card Services
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 02/27/2008
                                                                               P.O. Box 15298
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Wilmington DE 19850                                                     Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.7                                                               Last 4 digits of account number: -****                                        $3,403.36
                                                                               CITICARD CBNA
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 01/09/2012
                                                                               P.O. Box 6241
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57117                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.8                                                               Last 4 digits of account number: -****                                        $7,314.57
                                                                               CITICARD CBNA
                                                                                                                                                 When was the debt incurred: 08/22/2014
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                                                                               Nonpriority Creditor's Name
                                                                               P.O. Box 6241
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57117                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.9                                                               Last 4 digits of account number: -****                                        $2,518.00
                                                                               CITICARD CBNA
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 02/14/2018
                                                                               P.O. Box 6241
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57117                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                          Doc 1
                                                                               Debtor 1         Edwin Cabrera De Dios                                                                                                      Case number:


                                                                                                                                                                                                                          Total claim

                                                                               4.10                                                              Last 4 digits of account number: -****                                        $1,235.00
                                                                               Comenity Bank/Victoria Secret
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 04/02/2000
                                                                               P.O. Box 182789
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Columbus OH 43218-2789                                                  Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.11                                                              Last 4 digits of account number: -****                                        $1,274.00
                                                                               Comenity Bank/Victoria Secret
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/04/2006
                                                                               P.O. Box 182789
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Columbus OH 43218-2789                                                  Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.12                                                              Last 4 digits of account number: -1934                                        $1,715.00
                                                                               Credit First National Association
                                                                                                                                                 When was the debt incurred: 01/23/2010
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                                                                               Nonpriority Creditor's Name
                                                                               P.O. Box 81315
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Cleveland OH 44181-0315                                                 Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.13                                                              Last 4 digits of account number: -****                                        $1,187.00
                                                                               Dell Financial Services/ Web Bank
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/19/2007
                                                                               P.O. Box 81607
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Austin TX 78708                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                          Doc 1
                                                                               Debtor 1         Edwin Cabrera De Dios                                                                                                      Case number:


                                                                                                                                                                                                                          Total claim

                                                                               4.14                                                              Last 4 digits of account number: -****                                        $5,195.64
                                                                               DSNB/Macy's
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 04/19/1999
                                                                               P.O. Box 8218
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Mason OH 45050                                                          Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.15                                                              Last 4 digits of account number: -****                                        $4,077.41
                                                                               Fred Meyers
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/28/2016
                                                                               1000 Mac Arthur Blvd.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Mahwah NJ 07430                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.16                                                              Last 4 digits of account number: -****                                        $3,057.74
                                                                               Fred Meyers
                                                                                                                                                 When was the debt incurred: 10/11/2012
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                                                                               Nonpriority Creditor's Name
                                                                               1000 Mac Arthur Blvd.
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Mahwah NJ 07430                                                         Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.17                                                              Last 4 digits of account number: -****                                        $3,009.00
                                                                               Kohl's Department Store
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 07/29/2005
                                                                               P.O. Box 3115
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Milwaukee WI 53201                                                      Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                          Doc 1
                                                                               Debtor 1         Edwin Cabrera De Dios                                                                                                      Case number:


                                                                                                                                                                                                                          Total claim

                                                                               4.18                                                              Last 4 digits of account number: -****                                        $7,907.96
                                                                               SYNCB/American Eagle PLCC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 10/11/2015
                                                                               P.O. Box 965005
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Orlando FL 32896-5056                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.19                                                              Last 4 digits of account number: -****                                        $3,068.00
                                                                               SYNCB/Banana Republic
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 04/10/2016
                                                                               P.O. Box 965005
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Orlando FL 32896-5005                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.20                                                              Last 4 digits of account number: -****                                        $6,059.00
                                                                               SYNCB/Banana Republic
                                                                                                                                                 When was the debt incurred: 04/10/2016
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                                                                               Nonpriority Creditor's Name
                                                                               P.O. Box 965005
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Orlando FL 32896-5005                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.21                                                              Last 4 digits of account number: -****                                        $5,376.41
                                                                               SYNCB/GAPDC
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 05/22/2013
                                                                               P.O. Box 965005
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Orlando FL 32896-5005                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                          Doc 1
                                                                               Debtor 1         Edwin Cabrera De Dios                                                                                                      Case number:


                                                                                                                                                                                                                          Total claim

                                                                               4.22                                                              Last 4 digits of account number: -****                                       $11,409.26
                                                                               SYNCB/Old Navy
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 04/30/2008
                                                                               P.O. Box 965005
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Orlando FL 32896-5005                                                   Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.23                                                              Last 4 digits of account number: -****                                        $4,344.71
                                                                               TD Bank USA/Target Credit
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 11/01/1999
                                                                               P.O. Box 673
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Minneapolis MN 55440-0673                                               Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.24                                                              Last 4 digits of account number: -****                                        $3,660.00
                                                                               TD Bank USA/Target Credit
                                                                                                                                                 When was the debt incurred: 03/15/2006
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                                                                               Nonpriority Creditor's Name
                                                                               P.O. Box 1470
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Minneapolis MN 55440                                                    Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Credit Card
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes

                                                                               4.25                                                              Last 4 digits of account number: -****                                        $2,373.00
                                                                               The Home Depot/CBNA
                                                                               Nonpriority Creditor's Name                                       When was the debt incurred: 09/05/2014
                                                                               P.O. 6497
                                                                               Number Street                                                     As of the date you file, the claim is: Check all that apply
                                                                                                                                                       Contingent
                                                                                                                                                       Unliquidated
                                                                               Sioux Falls SD 57117-6497                                               Disputed
                                                                               City, State, ZIP Code
                                                                               Who incurred the debt? Check one.                                 Type of NONPRIORITY unsecured claim:
                                                                                     Debtor 1 only                                                    Student loans
                                                                                     Debtor 2 only                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     Debtor 1 and Debtor 2 only                                       you did not report as priority claims
                                                                                     At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Check if this claim is for a community debt                      Other. Specify Charge Account
                                                                               Is the claim subject to offset?
                                                                                     No
                                                                                     Yes



                                                                                Part 3:                  List Others to Be Notified for a Debt That You Already Listed




                                                                               Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7
Filed 07/22/19                                                                                                                                 Case 19-24600                                                                                       Doc 1
                                                                               Debtor 1      Edwin Cabrera De Dios                                                                                                                 Case number:



                                                                               5.    Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
                                                                                     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2,
                                                                                     then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list
                                                                                     the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
                                                                                     this page.

                                                                               1                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Alltran Financial LP                                                       Line 4.4 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 4044
                                                                               Number Street                                                              Last 4 digits of account number:


                                                                               Concord CA 94524-4044
                                                                               City, State, ZIP Code



                                                                               2                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               ARS National Services Inc.                                                 Line 4.6 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 469046
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               #38292201

                                                                               Escondido CA 92046-9046
                                                                               City, State, ZIP Code



                                                                               3                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               ARS National Services Inc.                                                 Line 4.3 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 469100
                                                                               Number Street                                                              Last 4 digits of account number:
                                                                               #38265258

                                                                               Escondido CA 92046-9100
                                                                               City, State, ZIP Code
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                                                                               4                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Calvary Portfolio Services                                                 Line 4.8 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               500 Summit Lake Dr.
                                                                               Number Street                                                              Last 4 digits of account number:


                                                                               Valhalla NY 10595
                                                                               City, State, ZIP Code



                                                                               5                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Calvary SPV I, LLC                                                         Line 4.7 of (Check one):           Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               500 Summit Lake Drive, Ste. 400
                                                                               Number Street                                                              Last 4 digits of account number:


                                                                               Valhalla NY 10595
                                                                               City, State, ZIP Code



                                                                               6                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Client Services, Inc.                                                      Line 4.15 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               3451 Harry S. Truman Blvd
                                                                               Number Street                                                              Last 4 digits of account number:


                                                                               Saint Charles MO 63301-4047
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 8
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                                                                               Debtor 1      Edwin Cabrera De Dios                                                                                                         Case number:



                                                                               7                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Credit Control LLC                                                 Line 4.14 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 31179
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Tampa FL 33631-3179
                                                                               City, State, ZIP Code



                                                                               8                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               First Source Advantage LLC                                         Line 4.18 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 628
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Buffalo NY 14240-0628
                                                                               City, State, ZIP Code



                                                                               9                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               First Source Advantage LLC                                         Line 4.16 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               P.O. Box 628
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               Buffalo NY 14240-0628
                                                                               City, State, ZIP Code



                                                                               10                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Hunt & Henriquez/ Michael S. Hunt, Esq.                            Line 4.14 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               151 Bernal Road, Ste. B
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                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               San Jose CA 95119-1306
                                                                               City, State, ZIP Code



                                                                               11                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Law Offices of Patenaude & Felix, A.P.C.                           Line 4.23 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               4545 Murphy Canyon Road, 3rd Flr.
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               San Diego CA 92123
                                                                               City, State, ZIP Code



                                                                               12                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Midland Credit Management                                          Line 4.22 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               350 Camino De La Reina, Ste. 100
                                                                               Number Street                                                      Last 4 digits of account number:


                                                                               San Diego CA 92108
                                                                               City, State, ZIP Code




                                                                               Official Form 106E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 9
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                                                                               Debtor 1      Edwin Cabrera De Dios                                                                                                                                                           Case number:



                                                                               13                                                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               Patenaude & Felix, A.P.C.                                                                                      Line 4.24 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               4545 Murphy Canyon Rd.
                                                                               Number Street                                                                                                  Last 4 digits of account number:


                                                                               San Diego CA 92123
                                                                               City, State, ZIP Code



                                                                               14                                                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               The CBE Group Inc                                                                                              Line 4.12 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               1309 Technology Pkwy
                                                                               Number Street                                                                                                  Last 4 digits of account number:


                                                                               Cedar Falls IA 50613
                                                                               City, State, ZIP Code



                                                                               15                                                                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
                                                                               United Collection Bureau, Inc.                                                                                 Line 4.25 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                               Creditor's Name                                                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
                                                                               5620 Southwyck Blvd. Suite 206
                                                                               Number Street                                                                                                  Last 4 digits of account number:


                                                                               Toledo OH 43614
                                                                               City, State, ZIP Code




                                                                                Part 4:                Add the Amounts for Each Type of Unsecured Claim
                                                                               6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
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                                                                                     Add the amounts for each type of unsecured claim.

                                                                                                                                                                                                                                                               Total claim

                                                                               Total
                                                                               claims from
                                                                               Part 1              6a. Domestic support obligations .................................................................................................                  6a.                 $0.00

                                                                                                   6b. Taxes and certain other debts you owe the government .....................................................                                      6b.                 $0.00

                                                                                                   6c. Claims for death or personal injury while you were intoxicated..........................................                                        6c.                 $0.00

                                                                                                   6d. Other. Add all other priority unsecured claims. Write that amount here.....................................                                     6d.                 $0.00

                                                                                                   6e. Total Add lines 6a through 6d. ...................................................................................................              6e.                 $0.00

                                                                               Total
                                                                               claims from
                                                                               Part 2              6f. Student loans .............................................................................................................................     6f.                 $0.00

                                                                                                   6g. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                   priority claims .................................................................................................................................   6g.                 $0.00

                                                                                                   6h. Debts to pension or profit-sharing plans, and other similar debts......................................                                         6h.                 $0.00

                                                                                                   6i. Other. Add all other nonpriority unsecured claims. Write that amount here................................                                       6i.          $97,812.79

                                                                                                   6j. Total. Add lines 6f through 6i. .....................................................................................................           6j.          $97,812.79




                                                                               Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                                              Page 10
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios

                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                                      Check if this is an amended
                                                                                                                                                                                                             filing
                                                                                    United States Bankruptcy Court for the Eastern District of California

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106G
                                                                               Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
                                                                               additional pages, write your name and case number (if known).

                                                                               1.    Do you have any executory contracts or unexpired leases?
                                                                                         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                                                                                         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
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                                                                               Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1
Filed 07/22/19                                                                                                                                  Case 19-24600                                                                      Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios

                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                              Check if this is an amended
                                                                                                                                                                                                     filing
                                                                                    United States Bankruptcy Court for the Eastern District of California

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106H
                                                                               Schedule H: Your Codebtors                                                                                                              12/15


                                                                               Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
                                                                               people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
                                                                               fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages,
                                                                               write your name and case number (if known). Answer every question.

                                                                               1.    Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                                                                                         No
                                                                                         Yes

                                                                               2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and
                                                                                     territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                                                                                           No. Go to line 3.
                                                                                           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                                                                                                No
                                                                                                Yes. In which community state or territory did you live? . Fill in the name and current address of that person.
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                                                                               3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List
                                                                                     the person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed
                                                                                     the creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form
                                                                                     106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                                                                               Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                                                                          Check all schedules that apply

                                                                               3.1                                                                                            Schedule D, line 2.1
                                                                                     Lovinia Lamorena                                                                         Schedule E/F, line
                                                                                     Name                                                                                     Schedule G, line
                                                                                     2955 Redwood Parkway
                                                                                     Number Street



                                                                                     Vallejo CA 94591
                                                                                     City, State, ZIP Code



                                                                               3.2                                                                                            Schedule D, line 2.2
                                                                                     Lovenia H Lamorena                                                                       Schedule E/F, line
                                                                                     Name                                                                                     Schedule G, line
                                                                                     2955 Redwood Parkway
                                                                                     Number Street



                                                                                     Vallejo CA 94591
                                                                                     City, State, ZIP Code




                                                                               Official Form 106H                                            Schedule H: Your Codebtors                                                    Page 1
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                    Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios
                                                                                                                                                                                                 Check if this is:
                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                                                                                                                                     An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                                     A supplement showing
                                                                                                                                                                                                     post-petition chapter 13
                                                                                    United States Bankruptcy Court for the Eastern District of California
                                                                                                                                                                                                     income as of
                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 106I
                                                                               Schedule I: Your Income                                                                                                                   12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                               supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
                                                                               spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
                                                                               attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                Part 1:              Describe Employment
                                                                               1.    Fill in your employment                                                Debtor 1                          Debtor 2 or non-filing spouse
                                                                                     information                            Employment status                  Employed                          Employed
                                                                                                                                                               Not employed                      Not employed
                                                                                     If you have more than one job,
                                                                                     attach a separate page with            Occupation                      Production Associate              Licensed Vocational Nurse
                                                                                     information about additional           Employer's name                 IDEX Health & Science LLC         Legacy Nursing & Rehab
                                                                                     employers.                             Employer's address              600 Park Ct.                      1790 Muri Rd.
                                                                                                                                                            Rohnert Park, CA 94928            Martinez, CA 94553
                                                                                     Include part-time, seasonal, or
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                                                                                     self-employed work.                    How long employed there?        8 years                           12 Years

                                                                                     Occupation may include student or
                                                                                     homemaker, if it applies.


                                                                                                                            Occupation
                                                                                                                            Employer's name
                                                                                                                            Employer's address
                                                                                                                            How long employed there?


                                                                                Part 2:              Give Details About Monthly Income

                                                                               Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space.
                                                                               Including your non-filing spouse unless you are separated.

                                                                               If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                               below. If you need more space, attach a separate sheet to this form.


                                                                                                                                                                                                                For Debtor 2
                                                                                                                                                                                                                     or
                                                                                                                                                                                             For Debtor 1
                                                                                                                                                                                                                 non-filing
                                                                                                                                                                                                                  spouse
                                                                               2.    List monthly gross wages, salary, and commissions before all payroll deductions).                  2.      $3,533.31            $5,373.59
                                                                                     If not paid monthly, calculate what the monthly wage would be.

                                                                               3.    Estimate and list monthly overtime pay.                                                            3.            $0.00               $0.00
                                                                               4.    Calculate gross income. Add line 2 + line 3.                                                       4.      $3,533.31            $5,373.59



                                                                               Official Form 106I                                                Schedule I: Your Income                                                      Page 1
Filed 07/22/19                                                                                                                                  Case 19-24600                                                            Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                            Case number:



                                                                               5.   List All payroll deductions:

                                                                                    5a. Tax, Medicare, and Social Security deductions                                                5a.    $504.60        $1,096.90
                                                                                    5b. Mandatory contributions for retirement plans                                                 5b.         $0.00           $0.00
                                                                                    5c. Voluntary contributions for retirement plans                                                 5c.    $277.91              $0.00
                                                                                    5d. Required repayments of retirement fund loans                                                 5d.    $385.15              $0.00
                                                                                    5e. Insurance                                                                                    5e.    $464.26              $0.00
                                                                                    5f.   Domestic support obligations                                                               5f.         $0.00           $0.00
                                                                                    5g. Union dues                                                                                   5g.         $0.00           $0.00
                                                                                    5h. Other deductions. Specify:                                                                   5h.         $0.00           $0.00
                                                                               6.   Add the payroll deductions. Add lines 5a through 5h                                               6.   $1,631.92       $1,096.90
                                                                               7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                               7.   $1,901.39       $4,276.69
                                                                               8.   List all other income regularly received:

                                                                                    8a. Net income from rental property and from operating a business, profession,                   8a.         $0.00           $0.00
                                                                                        or farm

                                                                                          Attach a statement for each property and business showing gross receipts,
                                                                                          ordinary and necessary business expenses, and the total monthly net income.

                                                                                    8b. Interest and dividends                                                                       8b.         $0.00           $0.00
                                                                                    8c. Family support payments that you, a non-filing spouse, or a dependent                        8c.         $0.00           $0.00
                                                                                        regularly receive
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                                                                                          Include alimony, spousal support, child support, maintenance, divorce settlement,
                                                                                          and property settlement.

                                                                                    8d. Unemployment compensation                                                                    8d.         $0.00           $0.00
                                                                                    8e. Social Security                                                                              8e.         $0.00           $0.00
                                                                                    8f.   Other government assistance that you regularly receive                                     8f.         $0.00           $0.00
                                                                                          Include cash assistance and the value (if known) of any non-cash assistance that
                                                                                          you receive, such as food stamps (benefits under the Supplemental Nutrition
                                                                                          Assistance Program) or housing subsidies. Specify:

                                                                                    8g. Pension or retirement income                                                                 8g.         $0.00           $0.00
                                                                                    8h. Other monthly income. Specify:                                                               8h.         $0.00           $0.00
                                                                               9.   Add all other income. Add lines 8a-8h.                                                            9.         $0.00           $0.00
                                                                               10. Calculate monthly income. Add line 7 + line 9.                                                          10.      $6,178.08
                                                                                   Add the entries in line 9 for Debtor 1 and Debtor 2 or non-filing spouse.

                                                                               11. State all other regular contributions to the expenses that you list in Schedule J                       11.           $0.00
                                                                                   (Official Form 106J).

                                                                                    Include contributions from an unmarried partner, members of your household, your
                                                                                    dependents, your roommates, and other friends or relatives.

                                                                                    Do not include any amounts already included in lines 2-10 or amounts that are not available to
                                                                                    pay expenses listed in Schedule J (Official Form 106J).

                                                                                    Specify:

                                                                               12. Add the amounts on lines 10 and 11. The result is the combined monthly income. Also                     12.
                                                                                   write that amount on the Summary of Your Assets and Liabilities and Certain Statistical                          $6,178.08
                                                                                   Information (Official Form 106Sum) if it applies.




                                                                               Official Form 106I                                              Schedule I: Your Income                                             Page 2
Filed 07/22/19                                                                                                                             Case 19-24600                        Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                     Case number:



                                                                               13. Do you expect an increase or decrease within the year after you file this form?


                                                                                          No
                                                                                          Yes.
                                                                                          Explain.....
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                                                                               Official Form 106I                                         Schedule I: Your Income          Page 3
Filed 07/22/19                                                                                                                                         Case 19-24600                                                                 Doc 1


                                                                                     Fill in this information to identify your case:

                                                                                     Debtor 1        Edwin Cabrera De Dios
                                                                                                                                                                                                      Check if this is:
                                                                                     Debtor 2        Josephine Sibucao De Dios
                                                                                                                                                                                                          An amended filing
                                                                                     (Spouse, if filing)
                                                                                                                                                                                                          A supplement showing
                                                                                                                                                                                                          post-petition chapter 13
                                                                                     United States Bankruptcy Court for the Eastern District of California
                                                                                                                                                                                                          expenses as of
                                                                                     Case number
                                                                                     (If known)



                                                                               Official Form 106J
                                                                               Schedule J: Your Expenses                                                                                                                     12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:               Describe Your Household
                                                                                1.      Is this a joint case?

                                                                                              No. Go to line 2.
                                                                                              Yes. Does Debtor 2 live in a separate household?

                                                                                                     No.
                                                                                                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2

                                                                               2.     Do you have dependents?                                            Dependent's                Dependent's age            Does dependent live
                                                                                                                                  No                     relationship to Debtor                                with you?
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                                                                                      Do not list Debtor 1 or Debtor 2.           Yes. Fill out this     1 or Debtor 2
                                                                                                                                  information for        Father                     87                            No
                                                                                      Do not state the dependents'                each dependent                                                                  Yes
                                                                                      names.
                                                                                                                                                         Mother                     76                            No
                                                                                                                                                                                                                  Yes

                                                                               3.     Do your expenses include expenses of people other than yourself and your                        No
                                                                                      dependents?                                                                                     Yes


                                                                                Part 2:               Estimate Your Ongoing Monthly Expenses
                                                                               Estimate your expenses as your bankruptcy filing date unless you are using this form as supplement in a Chapter 13 case to report
                                                                               expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
                                                                               the applicable date

                                                                               Include expenses paid for with non-cash governmental assistance if you know the value of such assistance and have included it on
                                                                               Schedule I: Your Income(Official Form 106I).


                                                                                Note: Expenses for property other than the debtor(s)' primary residence(s), if any, are reported in the Summary of Business/Real-Estate Income &
                                                                                Expense annexed to Schedule I.

                                                                                                                                                                                                                Your
                                                                                                                                                                                                              expenses
                                                                               4.     The rental or home ownership expenses for your residence. Include first                                          4.       $2,024.66
                                                                                      mortgage payments and any rent for the ground or lot.

                                                                                      If not included in line 4:

                                                                                      4a. Real estate taxes                                                                                           4a.

                                                                                      4b. Property, homeowner's, or renter's insurance                                                                4b.




                                                                               Official Form 106J                                                  Schedule J: Your Expenses                                                     Page 1
Filed 07/22/19                                                                                                                                Case 19-24600                                                     Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                      Case number:



                                                                                                                                                                                            Your
                                                                                                                                                                                          expenses
                                                                                    4c. Home maintenance, repair, and upkeep expenses                                               4c.

                                                                                    4d. Homeowner's association or condominium dues                                                 4d.

                                                                               5.   Additional mortgage payments for your residence, such as home equity loans                       5.

                                                                               6.   Utilities:

                                                                                    6a. Electricity, heat, natural gas                                                              6a.     $200.00
                                                                                    6b. Water, sewer, garbage collection                                                            6b.     $235.00
                                                                                    6c. Telephone, cell phone, Internet, satellite, and cable services                              6c.     $485.91
                                                                                    6d. Other. Specify: N/A                                                                         6d.

                                                                               7.   Food and housekeeping supplies                                                                   7.    $1,000.00
                                                                               8.   Childcare and children’s education costs                                                         8.

                                                                               9.   Clothing, laundry, and dry cleaning                                                              9.     $320.00
                                                                               10. Personal care products and services                                                              10.     $150.00
                                                                               11. Medical and dental expenses                                                                      11.     $100.00
                                                                               12. Transportation. Include gas, maintenance, bus or train fare.                                     12.     $640.00
                                                                                   Do not include car payments.

                                                                               13. Entertainment, clubs, recreation, newspapers, magazine, and books                                13.     $200.00
                                                                               14. Charitable contributions and religious donations                                                 14.     $100.00
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                                                                               15. Insurance.
                                                                                   Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                    15a. Life insurance                                                                            15a.      $51.26
                                                                                    15b. Health insurance                                                                          15b.

                                                                                    15c. Vehicle insurance                                                                         15c.     $246.00
                                                                                    15d. Other insurance. Specify: N/A                                                             15d.

                                                                               16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. Specify: N/A    16.

                                                                               17. Installment or lease payments

                                                                                    17a. Car Loan (2016 BMW x1)                                                                    17a.     $459.00
                                                                               18. Your payments of alimony, maintenance, and support that you did not report as                    18.
                                                                                   deducted from your pay on line 5, Schedule I (Official Form 106I)

                                                                               19. Other payments you make to support others who do not live with you.                              19.
                                                                                   Specify: N/A

                                                                               20. Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                   Schedule I (Official Form 106I)

                                                                                    20a. Mortgages on other property                                                               20a.

                                                                                    20b. Real estate taxes                                                                         20b.

                                                                                    20c. Property, homeowner's, or renter's insurance                                              20c.

                                                                                    20d. Maintenance, repair, and upkeep expenses                                                  20d.

                                                                                    20e. Homeowner's association or condominium dues                                               20e.




                                                                               Official Form 106J                                           Schedule J: Your Expenses                                      Page 2
Filed 07/22/19                                                                                                                                       Case 19-24600                                                                Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                                     Case number:



                                                                                                                                                                                                           Your
                                                                                                                                                                                                         expenses
                                                                                   20f. Other. Specify:                                                                                         20f.

                                                                               21. Other. Specify:                                                                                               21.
                                                                                          Financial Support to Chronically Ill Parents & Sibling                                                              $600.00
                                                                                          Fastrack Toll                                                                                                       $150.00
                                                                                          Home Security                                                                                                       $120.00
                                                                                          Work Uniform                                                                                                        $100.00
                                                                               22. Calculate your monthly expenses.

                                                                                   22a. Add lines 4 through 21.                                                                                 22a.       $7,181.83
                                                                                   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.

                                                                                   22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.       $7,181.83


                                                                               23. Calculate your monthly net income

                                                                                   23a. Copy line 12 (your combined monthly income) from Schedule I                                             23a.       $6,178.08
                                                                                   23b. Copy your monthly expenses from line 22 above.                                                          23b.       $7,181.83
                                                                                   23c. Subtract your monthly expenses from your monthly income.                                                23c.      ($1,003.75)
                                                                                        The result is your monthly net income

                                                                               24. Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                                   For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease
                                                                                   because of a modification to the terms of your mortgage?
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                                                                                          No
                                                                                          Yes.
                                                                                          Explain.....




                                                                               Official Form 106J                                                  Schedule J: Your Expenses                                                 Page 3
Filed 07/22/19                                                                                                                                     Case 19-24600                                                                                 Doc 1


                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Edwin Cabrera De Dios

                                                                                  Debtor 2        Josephine Sibucao De Dios
                                                                                  (Spouse, if filing)                                                                                                              Check if this is an amended
                                                                                                                                                                                                                   filing
                                                                                  United States Bankruptcy Court for the Eastern District of California

                                                                                  Case number
                                                                                  (If known)



                                                                               Official Form 106Dec
                                                                               Declaration About an Individual Debtor’s Schedules                                                                                                    12/15


                                                                               If two married people are filing together, both are equally responsible for supplying correct information.

                                                                               You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
                                                                               obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
                                                                               years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                                                   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                                                                                          No
                                                                                          Yes. Name of person N/A. Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

                                                                                   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
                                                                                   are true and correct.
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                                                                                   /s/ Edwin Cabrera De Dios                                                                                        07/22/2019
                                                                                   Signature of Debtor 1                                                                                            Date

                                                                                   /s/ Josephine Sibucao De Dios                                                                                    07/22/2019
                                                                                   Signature of Debtor 2                                                                                            Date




                                                                               Official Form 106Dec                                 Declaration About an Individual Debtor’s Schedules                                                   Page 1
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                              Doc 1
                                                                                 Fill in this information to identify your case:                                                  Check one box only as directed in this form and
                                                                                                                                                                                  in Form 122A-1Supp:


                                                                                 Debtor 1      Edwin Cabrera De Dios                                                                 1. There is no presumption of abuse.

                                                                                 Debtor 2      Josephine Sibucao De Dios                                                             2. The presumption of abuse will be calculated
                                                                                 (Spouse, if filing)                                                                                    under Chapter 7 Means Test Calculation
                                                                                                                                                                                        (Official Form 122A-2)
                                                                                 United States Bankruptcy Court for the Eastern District of California
                                                                                                                                                                                     3. The Means Test does not apply now because of
                                                                                 Case number                                                                                            qualified military service but it could apply later.
                                                                                 (If known)

                                                                                                                                                                                   Check if this is an amended filing


                                                                               Official Form 122A-1
                                                                               Chapter 7 Statement of Your Current Income                                                                                                       12/15


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
                                                                               space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of
                                                                               any additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse
                                                                               because you do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from
                                                                               Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.


                                                                                Part 1:          Calculate Your Current Monthly Income

                                                                                1.   What is your marital and filing status? Check one only.

                                                                                            Not married. Fill out Column A, lines 2-11.

                                                                                            Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

                                                                                            Married and your spouse is NOT filing with you. You and your spouse are:
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                                                                                              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

                                                                                              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                                                                                                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                                                                                                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).



                                                                                     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
                                                                                     case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
                                                                                     amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not
                                                                                     include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one
                                                                                     column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                                                                                                                           Column B
                                                                                                                                                                                                     Column A
                                                                                                                                                                                                                          Debtor 2 or
                                                                                                                                                                                                      Debtor 1
                                                                                                                                                                                                                        non-filing spouse

                                                                                2.   Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
                                                                                     payroll deductions).                                                                                     2.      $3,533.31              $5,373.59
                                                                                3.   Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                     Column B is filled in.                                                                                   3.            $0.00                  $0.00
                                                                                4.   All amounts from any source which are regularly paid for household expenses of
                                                                                     you or your dependents, including child support. Include regular contributions from
                                                                                     an unmarried partner, members of your household, your dependents, parents, and
                                                                                     roommates. Include regular contributions from a spouse only if Column B is not filled in.
                                                                                     Do not include payments you listed on line 3.                                                            4.            $0.00                  $0.00
                                                                                5.   Net income from operating a business, profession, or farm

                                                                                     Gross receipts (before all deductions)                                        $0.00

                                                                                     Ordinary and necessary operating expenses                                     $0.00


                                                                                     Net monthly income from a business, profession, or farm                                                  5.            $0.00                  $0.00


                                                                               Official Form 122A-1                                   Chapter 7 Statement of Your Current Income                                                     Page 1
FiledDebtor
      07/22/19
            1 Edwin Cabrera De Dios                                                                                                                Case 19-24600                                                                        Doc
                                                                                                                                                                                                                              Case number:    1
                                                                                6.   Net income from rental and other real property

                                                                                      Gross receipts (before all deductions)                                      $0.00

                                                                                      Ordinary and necessary operating expenses                                   $0.00


                                                                                     Net monthly income from rental or other real property                                                     6.          $0.00                 $0.00
                                                                                7.   Interest, dividends, and royalties                                                                        7.          $0.00                 $0.00
                                                                                8.   Unemployment compensation

                                                                                     Do not enter the amount if you contend that the amount received was a benefit under the
                                                                                     Social Security Act. Instead, list it here:

                                                                                      For you                                                      $0.00

                                                                                      For your spouse                                              $0.00



                                                                                                                                                                                               8.          $0.00                 $0.00
                                                                                9.   Pension or retirement income. Do not include any amount received that was a benefit
                                                                                     under the Social Security Act.                                                                            9.          $0.00                 $0.00
                                                                                10. Income from all other sources not listed above. Specify the source and amount. Do not
                                                                                    include any benefits received under the Social Security Act or payments received as a
                                                                                    victim of a war crime, a crime against humanity, or international or domestic terrorism.                  10.          $0.00                 $0.00
                                                                                11. Calculate your total current monthly income. Add lines 2 through 10 for each column: $3,533.31 +
                                                                                    $5,373.59. Then add the total for Column A to the total for Column B.                                                         11.     $8,906.90
                                                                                Part 2:          Determine Whether the Means Test Applies to You

                                                                                12. Calculate your current monthly income for the year. Follow these steps:

                                                                                     Copy your total current monthly income from line 11.                       $8,906.90
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                                                                                     Multiply by 12 (the number of months in a year).                         $106,882.80


                                                                                     The result is your annual income for this part of the form.                                                                  12.   $106,882.80
                                                                                13. Calculate the median family income that applies to you. Follow these steps:

                                                                                     Fill in the state in which you live.                                    California

                                                                                     Fill in the number of people in your household.                             4

                                                                                     Fill in the median family income for your state and size of            $94,505.00
                                                                                            household.


                                                                                     To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                     instructions for this form. This list may also be available at the bankruptcy clerk's office.                                13.    $94,505.00
                                                                                14. How do the lines compare?

                                                                                     14a.       Line 12 is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.Go to Part 3.

                                                                                     14b.       Line 12 is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part 3
                                                                                                and fill out Form 122A-2.

                                                                                Part 3:          Sign Below




                                                                               Official Form 122A-1                                     Chapter 7 Statement of Your Current Income                                                Page 2
FiledDebtor
      07/22/19
            1 Edwin Cabrera De Dios                                                                                                               Case 19-24600                                                                        Doc
                                                                                                                                                                                                                             Case number:    1


                                                                                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                                                                                    /s/ Edwin Cabrera De Dios                                                                                  07/22/2019
                                                                                    Signature of Debtor 1                                                                                      Date MM/DD/YYYY

                                                                                    /s/ Josephine Sibucao De Dios                                                                              07/22/2019
                                                                                    Signature of Debtor 2                                                                                      Date MM/DD/YYYY

                                                                                    If you checked line 14a, do NOT fill out or file Form 122A-2.

                                                                                    If you checked line 14b, fill out Form 122A-2 and file it with this form.
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                                                                               Official Form 122A-1                                   Chapter 7 Statement of Your Current Income                                                 Page 3
Filed 07/22/19                                                                                                                                   Case 19-24600                                                                             Doc 1
                                                                                 Fill in this information to identify your case:                                                  Check the appropriate box as directed in lines 40
                                                                                                                                                                                  or 42:


                                                                                 Debtor 1        Edwin Cabrera De Dios
                                                                                                                                                                                  According to the calculations required by this
                                                                                 Debtor 2      Josephine Sibucao De Dios                                                          Statement:
                                                                                 (Spouse, if filing)
                                                                                                                                                                                    1. There is no presumption of abuse.
                                                                                 United States Bankruptcy Court for the Eastern District of California
                                                                                                                                                                                    2. There is a presumption of abuse.
                                                                                 Case number
                                                                                 (If known)

                                                                                                                                                                                  Check if this is an amended filing

                                                                               Official Form 122A-2
                                                                               Chapter 7 Means Test Calculation                                                                                                               04/16


                                                                               To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
                                                                               space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
                                                                               additional pages, write your name and case number (if known).


                                                                                Part 1:           Determine Your Adjusted Income

                                                                                1.   Copy your total current monthly income. Copy line 11 from Official Form 122A-1 here                                          1.       $8,906.90
                                                                                2.   Did you fill out Column B in Part 1 of Form 122A-1?

                                                                                            No. Fill in $0 on line 3.
                                                                                            Yes. Is your spouse filing with you?
                                                                                              No. Go to line 3.
                                                                                              Yes. Fill in $0 on line 3.
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                                                                                3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay
                                                                                     for the household expenses of you or your dependents. Follow these steps:

                                                                                     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT
                                                                                     regularly used for the household expenses of you or your dependents?

                                                                                            No. Fill in 0 on line 3.
                                                                                            Yes. Fill in the information below:

                                                                                                     State each purpose for which the income was
                                                                                                                           used                             Fill in the amount you are
                                                                                                  For example, the income is used to pay your spouse's    subtracting from your spouse's
                                                                                                   tax debt or to support people other than you or your                income
                                                                                                                       dependents

                                                                                            a.

                                                                                                                                                Total:                                 $0.00


                                                                                     Total. Add the previous lines and insert the total here.                                                                     3.               $0.00
                                                                                4.   Adjust your current monthly income. Subtract line 3 from line 1.                                                             4.       $8,906.90
                                                                                Part 2:           Calculate Your Deductions from Your Income

                                                                                The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
                                                                                questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
                                                                                information may also be available at the bankruptcy clerk's office.

                                                                                Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
                                                                                expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's income in line 3 and do not
                                                                                deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

                                                                                If your expenses differ from month to month, enter the average expense.

                                                                                Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.



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                                                                                5.   The number of people used in determining your deductions from income

                                                                                     Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
                                                                                     number of any additional dependents whom you support. This number may be different from the number of
                                                                                     people in your household.                                                                                                        5.                    4
                                                                                     National Standards You must use the IRS National Standards to answer the questions in lines 6-7.

                                                                                6.   Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                                                                                     Standards, fill in the dollar amount for food, clothing, and other items.                                                        6.      $1,694.00
                                                                                7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
                                                                                     Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
                                                                                     categories -- people who are under 65 and people who are 65 or older, because older people have a higher
                                                                                     IRS allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct
                                                                                     the additional amount on line 22.

                                                                                     People who are under 65 years of age

                                                                                     7a. Out-of-pocket health care allowance per person                                $52.00

                                                                                     7b. Number of people who are under 65                                                  2

                                                                                     7c. Subtotal. Multiply line 7a by line 7b.                                      $104.00


                                                                                     People who are 65 years of age or older

                                                                                     7d. Out-of-pocket health care allowance per person                              $114.00

                                                                                     7e. Number of people who are 65 or older                                               2

                                                                                     7f.   Subtotal. Multiply line 7d by line 7e.                                    $228.00


                                                                                     7g. Total. Add lines 7c and 7f.                                                                                                  7.        $332.00
                                                                                     Local Standards You must use the IRS Local Standards to answer the questions in lines 8-15.

                                                                                     Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes into two
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                                                                                     parts:

                                                                                     Housing and utilities - Insurance and operating expenses
                                                                                     Housing and utilities - Mortgage or rent expenses

                                                                                     To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

                                                                                     To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be available at the bankruptcy
                                                                                     clerk's office.

                                                                                8.   Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line
                                                                                     5, fill in the dollar amount listed for your county for insurance and operating expenses.                                        8.        $661.00
                                                                                9.   Housing and utilities - Mortgage or rent expenses:

                                                                                     9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                         listed for your county for mortgage or rent expenses.                                         $1,997.00

                                                                                     9b. Total average monthly payment for all mortgages and other debts secured by
                                                                                         your home.

                                                                                           To calculate the total average monthly payment, add all amounts that are
                                                                                           contractually due to each secured creditor in the 60 months after you file for
                                                                                           bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                      Name of creditor
                                                                                                                                          payment

                                                                                           Wells Fargo Home Mortgage                              $2,024.66


                                                                                           Total average monthly payment. Enter here and on line 33a.                                  $2,024.66


                                                                                     9c. Net mortgage or rent expense.

                                                                                     Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If this amount is
                                                                                     less than $0, enter $0.                                                                                                          9.           $0.00



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                                                                                10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
                                                                                    and affects the calculation of your monthly expenses, fill in any additional amount you claim.

                                                                                     Explain why:                                                                                                         10.           $0.00
                                                                                11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                                                                                          0. Go to line 14.
                                                                                          1. Go to line 12.
                                                                                          2 or more. Go to line 12.

                                                                                12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim
                                                                                    the operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical
                                                                                    area.                                                                                                                 12.        $470.00
                                                                                13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
                                                                                    expense for each vehicle below. You may not claim the expense if you do not make any loan or lease
                                                                                    payments on the vehicle. In addition, you may not claim the expense for more than two vehicles.

                                                                                     Vehicle 1                    N/A

                                                                                     13a. Ownership or leasing costs using IRS Local Standard                                             $0.00

                                                                                     13b. Average monthly payment for all debts secured by Vehicle 1.

                                                                                          Do not include costs for leased vehicles.

                                                                                          To calculate the average monthly payment here and on line 13e, add all
                                                                                          amounts that are contractually due to each secured creditor in the 60 months
                                                                                          after you filed for bankruptcy. Then divide by 60.

                                                                                                                                        Average Monthly
                                                                                           Name of each creditor for Vehicle 1
                                                                                                                                           Payment



                                                                                          Enter the total here and on line 33b.                                                           $0.00

                                                                                     13c. Net Vehicle 1 ownership or lease expense
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                                                                                          Subtract line 13b from line 13a. If this amount is less than $0, enter $0.                   $459.00
                                                                                                                                                                                                         13c.        $459.00
                                                                                     Vehicle 2                    N/A

                                                                                     13d. Ownership or leasing costs using IRS Local Standard                                             $0.00

                                                                                     13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
                                                                                          costs for leased vehicles.

                                                                                                                                        Average Monthly
                                                                                           Name of each creditor for Vehicle 2
                                                                                                                                           Payment



                                                                                          Enter the total here and on line 33c                                                            $0.00

                                                                                     13f. Net Vehicle 2 ownership or lease expense

                                                                                          Subtract line 13e from 13d. If this amount is less than $0, enter $0.                           $0.00
                                                                                                                                                                                                          13f.          $0.00
                                                                                14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in
                                                                                    the Public Transportation expense allowance regardless of whether you use public transportation.                      14.           $0.00
                                                                                15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim
                                                                                    that you may also deduct a public transportation expense, you may fill in what you believe is the appropriate
                                                                                    expense, but you may not claim more than the IRS Local Standard for Public Transportation.                            15.           $0.00
                                                                                     Other Necessary Expenses In addition to the expense deductions listed above, you are allowed your monthly expenses for the following IRS
                                                                                     categories.

                                                                                16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income
                                                                                    taxes, self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount
                                                                                    withheld from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the
                                                                                    expected refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.

                                                                                     Do not include real estate, sales, or use taxes.                                                                     16.      $1,601.50



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                                                                                17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
                                                                                    contributions, union dues, and uniform costs.

                                                                                     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll
                                                                                     savings.                                                                                                           17.    $125.00
                                                                                18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married
                                                                                    people are filing together, include payments that you make for your spouse's term life insurance. Do not include
                                                                                    premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life
                                                                                    insurance other than term.                                                                                          18.    $125.06
                                                                                19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
                                                                                    administrative agency, such as spousal or child support payments.

                                                                                     Do not include payments on past due obligations for spousal or child support. You will list these obligations in
                                                                                     line 35.                                                                                                           19.      $0.00
                                                                                20. Education: The total monthly amount that you pay for education that is either required:

                                                                                          as a condition for your job, or

                                                                                          for your physically or mentally challenged dependent child if no public education is available for similar
                                                                                          services.                                                                                                     20.     $50.00
                                                                                21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
                                                                                    preschool.

                                                                                     Do not include payments for any elementary or secondary school education.                                          21.      $0.00
                                                                                22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health
                                                                                    care that is required for the health and welfare of you or your dependents and that is not reimbursed by
                                                                                    insurance or paid by a health savings account. Include only the amount that is more than the total entered in
                                                                                    line 7. Payments for health insurance or health savings accounts should be listed only in line 25.                  22.      $0.00
                                                                                23. Telecommunication services: The total monthly amount that you pay for telecommunication services, such
                                                                                    as pagers, call waiting, caller identification, special long distance , business internet service, or business
                                                                                    cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
                                                                                    production of income, if it is not reimbursed by your employer.

                                                                                     Do not include payments for basic home telephone, internet and cell phone service. Do not include
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                                                                                     self-employment expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you
                                                                                     previously deducted.                                                                                               23.      $0.00
                                                                                24. Add all of the expenses allowed under the IRS expense allowances.

                                                                                     Add lines 6 through 23.                                                                                            24.   $5,517.56
                                                                                     Additional Expense Deductions These are additional deductions allowed by the Means Test.
                                                                                     Note: Do not include any expense allowances listed in lines 6-24.

                                                                                25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for
                                                                                    health insurance, disability insurance, and health savings accounts that are reasonably necessary for
                                                                                    yourself, your spouse, or your dependents.

                                                                                     Health Insurance                            $390.46

                                                                                     Disability Insurance                           $0.00

                                                                                     Health Savings Account                         $0.00

                                                                                                               Total             $390.46
                                                                                                                                                                                                        25.    $390.46
                                                                                     Do you actually spend the total amount shown on the previous line?

                                                                                          No. How much do you actually spend? $390.46

                                                                                          Yes

                                                                                26. Continued contributions to the care of household or family members. The actual monthly expenses that
                                                                                    you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or
                                                                                    disabled member of your household or member of your immediate family who is unable to pay for such
                                                                                    expenses.                                                                                                           26.    $800.00
                                                                                27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain
                                                                                    the safety of you and your family under the Family Violence Prevention and Services Act or other federal laws
                                                                                    that apply.

                                                                                     By law, the court must keep the nature of these expenses confidential.                                             27.      $0.00


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                                                                                28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and
                                                                                    utilities allowance on line 8.

                                                                                    If you believe that you have home energy costs that are more than the home energy costs included in the
                                                                                    non-mortgage housing and utilities allowance, then fill in the excess amount of home energy costs.

                                                                                    You must give your case trustee documentation of your actual expenses, and you must show that the
                                                                                    additional amount claimed is reasonable and necessary.                                                                                 28.    $200.00
                                                                                29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more
                                                                                    than $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend
                                                                                    a private or public elementary or secondary school.

                                                                                    You must give your case trustee documentation of your actual expenses, and you must explain why the
                                                                                    amount claimed is reasonable and necessary and not already accounted for in lines 6-23.

                                                                                    * Subject to adjustment on 04/01/2019, and every 3 years after that for cases begun on or after the date of adjustment.                29.      $0.00
                                                                                30. Additional food and clothing expense. The monthly amount by which your actual food and clothing
                                                                                    expenses are higher than the combined food and clothing allowances in the IRS National Standards. That
                                                                                    amount cannot be more than 5% of the food and clothing allowances in the IRS National Standards.

                                                                                    To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                                                                                    instructions for this form. This chart may also be available at the bankruptcy clerk's office.

                                                                                    You must show that the additional amount claimed is reasonable and necessary.                                                          30.    $100.00
                                                                                31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or
                                                                                    financial instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                            31.    $100.00
                                                                                32. Add all of the additional expense deductions.

                                                                                    Add lines 25 through 31.                                                                                                               32.   $1,590.46
                                                                                    Deductions for Debt Payment

                                                                                33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
                                                                                    loans, and other secured debt, fill in the following information.

                                                                                    To calculate the total average monthly payment, add all amounts that are contractually due to each secured
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                                                                                    creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                                                                                            Average
                                                                                                                                                                                                         monthly payment

                                                                                                  Mortgages on your home

                                                                                     33a.         Copy line 9b here                                                                                            $2,024.66

                                                                                                  Loans on your first two vehicles

                                                                                     33b.         Copy line 13b here                                                                                              $0.00

                                                                                     33c.         Copy line 13e here                                                                                              $0.00


                                                                                                                                                                               Does payment
                                                                                                    Name of each creditor                  Identify property that
                                                                                                                                                                              include taxes or
                                                                                                    for other secured debt                   secures the debt
                                                                                                                                                                                 insurance?

                                                                                     33d.

                                                                                    Total average monthly payment. Add lines 33a through 33d.                                                                              33.   $2,024.66
                                                                                34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other
                                                                                    property necessary for your support or the support of your dependents?

                                                                                          No. Go to line 35.

                                                                                          Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to
                                                                                          keep possession of your property (called the cure amount).




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                                                                                                                                                                                                                Case number:    1
                                                                                                                          Identify property that secures          Total cure
                                                                                          Name of the creditor
                                                                                                                                     the debt                      amount

                                                                                     (None)

                                                                                     Total                                                                                $0.00

                                                                                     Divide the total by 60 and enter the result here.                                                                 34.         $0.00
                                                                                35. Do you owe any priority claims -- such as a priority tax, child support, or alimony -- that are past due
                                                                                    as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                                                                                          No. Go to line 36.

                                                                                          Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority
                                                                                          claims, such as those you listed in line 19.

                                                                                          Total amount of all past-due priority claims $0.00 ÷ 60 =                                                    35.         $0.00
                                                                                36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).

                                                                                     For more information, go online using the link for Bankruptcy Basics specified in the separate instructions for
                                                                                     this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

                                                                                          No. Go to line 37.

                                                                                          Yes. Fill in the following information.

                                                                                     Projected monthly plan payment if you were filing under Chapter 13                                     $0.00

                                                                                     Current multiplier for your district as stated on the list issued by the                              7.25%
                                                                                     Administrative Office of the United States Courts (for districts in Alabama and
                                                                                     North Carolina) or by the Executive Office for United States Trustees (for all other
                                                                                     districts).

                                                                                     To find a list of district multipliers that includes your district, go online using the
                                                                                     link specified in the separate instructions for this form. This list may also be
                                                                                     available at the bankruptcy clerk's office.
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                                                                                     Average monthly administrative expense if you were filing under Chapter 13                                        36.         $0.00
                                                                                37. Add all of the deductions for debt payment.

                                                                                     Add lines 33 through 36.                                                                                          37.     $2,024.66
                                                                                     Total Deductions from Income

                                                                                38. Add all of the allowed deductions.

                                                                                     Copy line 24, All of the expenses allowed under IRS                                 $5,517.56
                                                                                     expense allowances

                                                                                     Copy line 32, All of the additional expense deductions                              $1,590.46

                                                                                     Copy line 37, All of the deductions for debt payment                                $2,024.66

                                                                                     Total deductions                                                                                                  38.     $9,132.68
                                                                                Part 3:         Determine Whether There Is a Presumption of Abuse

                                                                                39. Calculate monthly disposable income for 60 months

                                                                                     39a.Copy line 4, adjusted current monthly income                                    $8,906.90

                                                                                     39b.Copy line 38, Total deductions.                                                 $9,132.68

                                                                                     39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                               ($225.78)
                                                                                          Subtract line 39b from line 39a.

                                                                                     39d.Total. Multiply line 39c by 60.                                              ($13,546.80)
                                                                                                                                                                                                       39.   ($13,546.80)




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                                                                                40. Find out whether there is a presumption of abuse. Check the box that applies:

                                                                                           The line 39d is less than $7,700.00*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

                                                                                           The line 39d is more than $12,850.00*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
                                                                                           Part 4 if you claim special circumstances. Then go to Part 5.

                                                                                           The line 39d is at least $7,700.00*, but not more than $12,850.00*. Go to line 41.

                                                                                           * Subject to adjustment on 04/01/2019, and every 3 years after that for cases filed on or after the date of adjustment.

                                                                                41.

                                                                                       41a.Fill in the amount of your total nonpriority
                                                                                           unsecured debt. If you filled out A Summary of Your
                                                                                           Assets and Liabilities and Certain Statistical
                                                                                           Information Schedules (Official Form 6), you may refer
                                                                                           to line 3b on that form.

                                                                                       41b.25% of your total nonpriority unsecured debt. 11
                                                                                           U.S.C. § 707(b)(2)(A)(i)(I) Multiply line 41a by 0.25.
                                                                                                                                                                                                                                  41.

                                                                                42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay 25% of your unsecured,
                                                                                    nonpriority debt.

                                                                                      Check the box that applies:

                                                                                           Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

                                                                                           Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill
                                                                                           out Part 4 if you claim special circumstances. Then go to Part 5.

                                                                                Part 4:           Give Details About Special Circumstances

                                                                                43. Do you have any special circumstances that justify additional expenses or adjustments of current
                                                                                    monthly income for which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

                                                                                           No. Go to Part 5.
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                                                                                           Yes. Fill in the following information. All figures should reflect your average monthly expense or income
                                                                                           adjustment for each item. You may include expenses you listed in line 25.

                                                                                           You must give a detailed explanation of the special circumstances that make the expenses or income
                                                                                           adjustments necessary and reasonable. You must also give your case trustee documentation of your
                                                                                           actual expenses or income adjustments.

                                                                                                                                                                                     Average monthly
                                                                                                                                                                                       expense or
                                                                                            Give a detailed explanation of the special circumstances
                                                                                                                                                                                         income
                                                                                                                                                                                       adjustment

                                                                                       (None)

                                                                                                                                                                        Total:                      $0.00


                                                                                Part 5:           Sign Below



                                                                                      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                                                                                      /s/ Edwin Cabrera De Dios                                                                                                      07/22/2019
                                                                                      Signature of Debtor 1                                                                                                          Date MM/DD/YYYY

                                                                                      /s/ Josephine Sibucao De Dios                                                                                                  07/22/2019
                                                                                      Signature of Debtor 2                                                                                                          Date MM/DD/YYYY




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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios

                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                    (Spouse, if filing)                                                                                                          Check if this is an amended
                                                                                                                                                                                                                 filing
                                                                                    United States Bankruptcy Court for the Eastern District of California

                                                                                    Case number
                                                                                    (If known)



                                                                               Official Form 107
                                                                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                               information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                               number (if known). Answer every question.


                                                                                Part 1:              Give Details About Your Marital Status and Where You Lived Before

                                                                               1.    What is your current marital status?
                                                                                        Married
                                                                                        Not married


                                                                               2.    During the last 3 years, have you lived anywhere other than where you live now?
                                                                                         No
                                                                                         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
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                                                                               3.    Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
                                                                                     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                     Texas, Washington, and Wisconsin.)
                                                                                         No
                                                                                         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



                                                                                Part 2:              Explain the Sources of Your Income

                                                                               4.    Did you have any income from employment or from operating a business during this year or the two previous calendar
                                                                                     years?
                                                                                     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. If you are filing a
                                                                                     joint case and you have income that you receive together, list it only once under Debtor 1.
                                                                                           No
                                                                                           Yes. Fill in the details.


                                                                                                                            Debtor 1                                                Debtor 2

                                                                                                                            Sources of income           Gross income                Sources of income             Gross income
                                                                                                                            Check all that apply        (before deductions and      Check all that apply          (before deductions and
                                                                                                                                                        exclusions)                                               exclusions)

                                                                                     From January 1 of current                   Wages, commissions,                                      Wages, commissions,
                                                                                                                                 bonuses, tips                                            bonuses, tips
                                                                                     year until the date you                     Operating a business                                     Operating a business
                                                                                     filed for bankruptcy:                                                                                                                      $66,855.73

                                                                                     For last calendar year:                     Wages, commissions,                                      Wages, commissions,
                                                                                     (January 1 to December 31, 2018)            bonuses, tips                                            bonuses, tips
                                                                                                                                 Operating a business                                     Operating a business

                                                                                     For the calendar year                       Wages, commissions,                                      Wages, commissions,
                                                                                                                                 bonuses, tips                                            bonuses, tips
                                                                                     before that:                                Operating a business                                     Operating a business
                                                                                     (January 1 to December 31, 2017)                                              $152,605.25



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Filed 07/22/19                                                                                                                               Case 19-24600                                                                     Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                     Case number:



                                                                               5.   Did you receive any other income during this year or the two previous calendar years?
                                                                                    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
                                                                                    Security, unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from
                                                                                    lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you have income that you received
                                                                                    together, list it only once under Debtor 1.

                                                                                    List each source and the gross income from each source separately. Do not include income that you listed in line 4.
                                                                                         No
                                                                                         Yes. Fill in the details.



                                                                                Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

                                                                               6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

                                                                                          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                                                                              "incurred by an individual primarily for a personal, family, or household purpose."

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425.00* or more?

                                                                                                   No. Go to line 7.

                                                                                                   Yes. List below each creditor to whom you paid a total of $6,425.00* or more in one or more payments and the total
                                                                                                       amount you paid that creditor. Do not include payments for domestic support obligations, such as child support
                                                                                                       and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                                              * Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.

                                                                                          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                                                                                              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                                                                                                   No. Go to line 7.
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                                                                                                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor.
                                                                                                       Do not include payments for domestic support obligations, such as child support and alimony. Also, do not
                                                                                                       include payments to an attorney for this bankruptcy case.

                                                                               7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
                                                                                    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general
                                                                                    partner; corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting
                                                                                    securities; and any managing agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include
                                                                                    payments for domestic support obligations, such as child support and alimony.
                                                                                         No
                                                                                         Yes. List all payments to an insider


                                                                               8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt
                                                                                    that benefited an insider?
                                                                                    Include payments on debts guaranteed or cosigned by an insider.
                                                                                         No
                                                                                         Yes. List all payments that benefited an insider.



                                                                                Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

                                                                               9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative
                                                                                    proceeding?
                                                                                    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support
                                                                                    or custody modifications, and contract disputes.
                                                                                         No
                                                                                         Yes. Fill in the details


                                                                                     Case title                        Nature of the case                   Court or agency                    Status of the case




                                                                               Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              Page 2
Filed 07/22/19                                                                                                                             Case 19-24600                                                                   Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                                Case number:



                                                                                     TD Bank USA as successor        Complaint                            Superiro Court Solano              Pending hearing
                                                                                     of Target National Bank                                              County
                                                                                     vs. Josephine De Dios,                                               580 Texas Street
                                                                                     No. FCM166614                                                        Fairfield, CA 94533

                                                                               10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
                                                                                   seized, or levied?
                                                                                   Check all that apply and fill in the details below.
                                                                                       No. Go to line 11.
                                                                                       Yes. Fill in the information below.


                                                                               11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off
                                                                                   any amounts from your accounts or refuse to make a payment because you owed a debt?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit
                                                                                   of creditors, a court-appointed receiver, a custodian, or another official?
                                                                                        No
                                                                                        Yes



                                                                                Part 5:        List Certain Gifts and Contributions

                                                                               13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                                                                                       No
                                                                                       Yes. Fill in the details for each gift.


                                                                               14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than
                                                                                   $600 to any charity?
                                                                                       No
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                                                                                       Yes. Fill in the details of each gift or contribution



                                                                                Part 6:        List Certain Losses

                                                                               15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft,
                                                                                   fire, other disaster, or gambling?
                                                                                         No
                                                                                         Yes. Fill in the details



                                                                                Part 7:        List Certain Payments or Transfers

                                                                               16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
                                                                                   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                                     Person who was paid                            Description and value of any property               Date payment   Amount of payment
                                                                                                                                    transferred                                         or transfer
                                                                                                                                                                                        was made




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Filed 07/22/19                                                                                                                            Case 19-24600                                                              Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                          Case number:



                                                                                     Bert M. Vega, Esq.                            Expense & fee retainer (including any                    02/15/2019   $3,335.00
                                                                                     506 Sacramento Street                         retainer for the filing fee)
                                                                                     Vallejo, CA 94590

                                                                                     Email or website address:
                                                                                     bertvegalawcanb@sbcglobal.net

                                                                                     Person Who Made the Payment if Not
                                                                                     You:

                                                                                     Access Counseling, Inc.                       Fee for § 109(h)(1) briefing by approved                 07/18/2018      $15.00
                                                                                     633 W. 5th St., Ste. 26001                    nonprofit budget and credit counseling
                                                                                     Los Angeles, CA 90071                         agency

                                                                                     Email or website address:
                                                                                     www.AccessBK.org

                                                                                     Person Who Made the Payment if Not
                                                                                     You:

                                                                               17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any
                                                                                   property to anyone who promised to help you deal with your creditors or to make payments to your creditors?
                                                                                   Do not include any payment or transfer that you listed on line 16.
                                                                                       No
                                                                                       Yes. Fill in the details.


                                                                               18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other
                                                                                   than property transferred in the ordinary course of your business or financial affairs?
                                                                                   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
                                                                                   property). Do not include gifts and transfers that you have already listed on this statement.
                                                                                        No
                                                                                        Yes. Fill in the details
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                                                                               19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of
                                                                                   which you are a beneficiary? (These are often called asset-protection devices.)
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

                                                                               20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
                                                                                   benefit, closed, sold, moved, or transferred?
                                                                                   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
                                                                                   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
                                                                                        No
                                                                                        Yes. Fill in the details


                                                                               21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
                                                                                   for securities, cash, or other valuables?
                                                                                        No
                                                                                        Yes. Fill in the details.


                                                                               22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
                                                                                      No
                                                                                      Yes. Fill in the details.



                                                                                Part 9:        Identify Property You Hold or Control for Someone Else




                                                                               Official Form 107                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                       Page 4
Filed 07/22/19                                                                                                                               Case 19-24600                                                                Doc 1
                                                                               Debtor 1    Edwin Cabrera De Dios                                                                                            Case number:



                                                                               23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or
                                                                                   hold in trust for someone.
                                                                                       No
                                                                                       Yes. Fill in the details.



                                                                                Part 10:        Give Details About Environmental Information
                                                                               For the purpose of Part 10, the following definitions apply:

                                                                                    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
                                                                                    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including
                                                                                    statutes or regulations controlling the cleanup of these substances, wastes, or material.
                                                                                    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
                                                                                    or used to own, operate, or utilize it, including disposal sites.
                                                                                    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
                                                                                    hazardous material, pollutant, contaminant, or similar term.

                                                                               Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


                                                                               24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an
                                                                                   environmental law?
                                                                                       No
                                                                                       Yes. Fill in the details


                                                                               25. Have you notified any governmental unit of any release of hazardous material?
                                                                                      No
                                                                                      Yes. Fill in the details


                                                                               26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements
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                                                                                   and orders.
                                                                                       No
                                                                                       Yes. Fill in the details



                                                                                Part 11:        Give Details About Your Business or Connections to Any Business

                                                                               27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
                                                                                   business?
                                                                                           A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                                                                                           A member of a limited liability company (LLC) or limited liability partnership (LLP)
                                                                                           A partner in a partnership
                                                                                           An officer, director, or managing executive of a corporation
                                                                                           An owner of at least 5% of the voting or equity securities of a corporation

                                                                                          No. None of the above applies. Go to Part 12.
                                                                                          Yes. Check all that apply above and fill in the details below for each business.

                                                                               28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business?
                                                                                   Include all financial institutions, creditors, or other parties.
                                                                                       No
                                                                                       Yes. Fill in the details below.



                                                                                Part 12:        Sign Below
                                                                               I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
                                                                               answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
                                                                               fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C.
                                                                               §§ 152, 1341, 1519, and 3571.


                                                                                    /s/ Edwin Cabrera De Dios                                                                                  07/22/2019


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                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                             Case number:


                                                                                    Signature of Debtor 1                                                                                     Date

                                                                                    /s/ Josephine Sibucao De Dios                                                                             07/22/2019
                                                                                    Signature of Debtor 2                                                                                     Date


                                                                                    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
                                                                                             No
                                                                                             Yes

                                                                                    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
                                                                                             No
                                                                                             Yes. Name of person N/A -- the BkAssist software used to prepare this petition is licensed for use only by
                                                                                             attorneys.
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                                                                               Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                        Page 6
Filed 07/22/19                                                                                                                                  Case 19-24600                                                                         Doc 1


                                                                                  Fill in this information to identify your case:

                                                                                  Debtor 1        Edwin Cabrera De Dios

                                                                                  Debtor 2        Josephine Sibucao De Dios
                                                                                  (Spouse, if filing)                                                                                                   Check if this is an amended
                                                                                                                                                                                                        filing
                                                                                  United States Bankruptcy Court for the Eastern District of California

                                                                                  Case number
                                                                                  (If known)



                                                                               Official Form 108
                                                                               Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


                                                                               If you are an individual filing under chapter 7, you must fill out this form if:

                                                                                    creditors have claims secured by your property, or
                                                                                    you have leased personal property and the lease has not expired.

                                                                               You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
                                                                               whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

                                                                               If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
                                                                               sign and date the form.

                                                                               Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
                                                                               write your name and case number (if known).


                                                                                Part 1:            List Your Creditors Who Hold Secured Claims
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                                                                               For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill
                                                                               in the information below.


                                                                                    Identify the creditor and the property that is collateral     What do you intend to do with the property that            Did you claim the
                                                                                                                                                  secures a debt?                                            property as exempt
                                                                                                                                                                                                             on Schedule C?

                                                                                    BMW Financial Services                                             Surrender the property.                                    No
                                                                                                                                                       Retain the property and redeem it.                         Yes
                                                                                    2016 BMW x1                                                        Retain the property and enter into a Reaffirmation
                                                                                                                                                       Agreement.
                                                                                                                                                       Retain the property and [explain]: Continue to pay
                                                                                                                                                       the obligation as permitted by applicable
                                                                                                                                                       non-bankruptcy law

                                                                                    Wells Fargo Home Mortgage                                          Surrender the property.                                    No
                                                                                                                                                       Retain the property and redeem it.                         Yes
                                                                                    Residential Property at 2955 Redwood Parkway, Vallejo,             Retain the property and enter into a Reaffirmation
                                                                                    CA 94591                                                           Agreement.
                                                                                                                                                       Retain the property and [explain]: Continue to pay
                                                                                                                                                       the obligation as permitted by applicable
                                                                                                                                                       non-bankruptcy law


                                                                                Part 2:            List Your Unexpired Personal Property Leases
                                                                               For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form
                                                                               106G), fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease
                                                                               period has not yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. §
                                                                               365(p)(2).


                                                                                    Describe your unexpired personal property lease                                                                          Will the lease be
                                                                                                                                                                                                             assumed?




                                                                               Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                      Page 1
Filed 07/22/19                                                                                                                           Case 19-24600                                                              Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                          Case number:



                                                                                Part 3:        Sign Below
                                                                               Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
                                                                               personal property that is subject to an unexpired lease.


                                                                                    /s/ Edwin Cabrera De Dios                                                                          07/22/2019
                                                                                    Signature of Debtor 1                                                                              Date

                                                                                    /s/ Josephine Sibucao De Dios                                                                      07/22/2019
                                                                                    Signature of Debtor 2                                                                              Date
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                                                                               Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                            Page 2
Filed 07/22/19                                                                                                                                        Case 19-24600                                                             Doc 1


                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Edwin Cabrera De Dios
                                                                                                                                                                                                Check if this is:
                                                                                    Debtor 2        Josephine Sibucao De Dios
                                                                                                                                                                                                    An amended filing
                                                                                    (Spouse, if filing)
                                                                                                                                                                                                    A supplement disclosing
                                                                                                                                                                                                    additional payments or
                                                                                    United States Bankruptcy Court for the Eastern District of California
                                                                                                                                                                                                    agreements as of
                                                                                    Case number
                                                                                    (If known)



                                                                               Form BKA-2030
                                                                               Disclosure of Compensation of Attorney for Debtor                                                                                        12/15


                                                                               Use this procedural form, if desired, to disclose the matters enumerated in 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016(b).

                                                                               Disclosure is required within 14 days after the order for relief or another time as the court may direct. A supplemental disclosure is
                                                                               required within 14 days after any payment or agreement not previously disclosed.

                                                                               Attach a copy of the retainer agreement, if any.


                                                                                Part 1:              Compensation

                                                                                     For legal services, I have agreed to accept.......................... $3,000.00

                                                                                     Prior to the filing of this statement I have received
                                                                                         Retainer for legal services.............................................. $3,000.00

                                                                                            Retainer for expenses, including the court filing fee ...... $335.00
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                                                                                     Balance Due ......................................................................... $0.00

                                                                               2. The source of the compensation paid to me was:

                                                                                          Debtor          Other (specify)

                                                                               3. The source of compensation to be paid to me is:

                                                                                          Debtor          Other (specify)        N/A

                                                                               4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                            associates of my law firm.

                                                                                            I have agreed to share the above-disclosed compensation with another person or persons who are not members or
                                                                                            associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
                                                                                            compensation, is attached.



                                                                                Part 2:              Services

                                                                               5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                                     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                                                                                            bankruptcy.

                                                                                     b.     Preparation and filing of any petition, schedules, statement of affairs and plan that may be required.

                                                                                     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof.

                                                                                     d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters.



                                                                               Form BKA-2030                                           Disclosure of Compensation of Attorney for Debtor                                    Page 1
Filed 07/22/19                                                                                                                               Case 19-24600                                                            Doc 1
                                                                               Debtor 1   Edwin Cabrera De Dios                                                                                         Case number:


                                                                                   e.

                                                                                   f.

                                                                               6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

                                                                                   (None)

                                                                               7. A copy of my retainer agreement          is      is not attached.



                                                                                Part 3:        Certification

                                                                                   I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                   debtor(s) in this bankruptcy case.


                                                                                   /s/ Bert M. Vega, Esq.                                                                           07/22/2019
                                                                                   Bert M. Vega, Esq. (Law Office of Bert M. Vega, LLC.)                                            Date
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                                                                               Form BKA-2030                                    Disclosure of Compensation of Attorney for Debtor                              Page 2
